    Case 3:21-cv-00242-WBV-SDJ     Document 118-2   11/08/21 Page 1 of 63




                      UNITED STATES DISTRICT COURT

                      MIDDLE DISTRICT OF LOUISIANA

ABBY OWENS, ET AL                      *        NO.: 3:21-cv-00242
                                       *
VERSUS                                 *        JUDGE: WBV
                                       *
LOUISIANA STATE UNIVERSITY,            *        MAGISTRATE JUDGE: SDJ
ET AL                                  *
                                       *
******************************************************************************



                       MEMORANDUM IN SUPPORT
                 OF JOSEPH ALLEVA’S MOTION TO DISMISS
        Case 3:21-cv-00242-WBV-SDJ                              Document 118-2                  11/08/21 Page 2 of 63




                                                   TABLE OF CONTENTS


I. BACKGROUND ......................................................................................................................1
II. SUMMARY OF THE ARGUMENT .....................................................................................3
III. ARGUMENT ............................................................................................................................4
     A. Plaintiffs’ Complaint Fails to Meet Pleading Requirements as to Alleva.....................4

IV. FEDERAL CLAIMS ...............................................................................................................5
     A. Title IX Does Not Provide a Cause of Action Against Individuals
        (Counts I-V). .......................................................................................................................6

     B. Plaintiffs’ Claims Brought Pursuant To 42 U.S.C. § 1983 (Counts VI-
        VIII) Should Be Dismissed ................................................................................................7

             1. Plaintiffs Fail To Properly Plead a Cognizable First
                Amendment Retaliation Claim Against Alleva; Sovereign
                Immunity Applies to the § 1983 Claims In Alleva’s s Official
                Capacity and Qualified Immunity Applies to the § 1983 Claims
                in his Individual Capacity; and the § 1983 Claims Are Time
                Barred. .......................................................................................................................7

                     a. Plaintiffs Fail to Allege a Cognizable First Amendment
                        Retaliation Claim Against Alleva. ..................................................................7
                     b. Plaintiffs Cannot Bring a § 1983 Claim Against Alleva in
                        his Official Capacity Because He is Not a “Person” for
                        Purposes of Claims under § 1983 and are Barred by the
                        Doctrine of Sovereign Immunity. ...................................................................9

                          i. Government Officials in Their Official Capacity are
                              not Recognized as a “Person” under § 1983. ...........................................9
                          ii. Sovereign Immunity Under the Eleventh Amendment
                              Bars § 1983 Claims Against State Officials in Their
                              Official Capacity. .....................................................................................10

                     c.     Qualified Immunity Shields Alleva, in his Individual
                            Capacity, From Civil Liability for Plaintiffs’ § 1983
                            Claim of First Amendment Retaliation. .....................................................10
                     d.     Plaintiffs’ First Amendment Retaliation Claim Against
                            Alleva is Barred by the One-Year Statute of Limitations
                            for § 1983 Claims. .........................................................................................13
  Case 3:21-cv-00242-WBV-SDJ                             Document 118-2                  11/08/21 Page 3 of 63




   2. Plaintiffs Fail to Allege Specific Allegations Against Alleva for
      their § 1983 Equal Protection Claims, their Claims are Barred
      Because Alleva Enjoys Sovereign Immunity in his Official
      Capacity and Qualified Immunity in his Individual Capacity,
      and their Claims are Barred by the Applicable Limitations
      Period. .........................................................................................................................14

              a. Plaintiffs Fail to State a Claim for Denial of Equal
                 Protection Against Alleva. .............................................................................14
              b. Plaintiffs’ Claims Against Alleva in his Official Capacity
                 Are Barred Because Government Officials Are Not
                 Recognized As “Persons” For Purposes of § 1983 Claims,
                 by the Doctrine of Sovereign Immunity. ......................................................16
              c. Qualified Immunity Shields Alleva, in his Individual
                 Capacity, From Civil Liability for Plaintiffs’ § 1983
                 Claims of Violation of Equal Protection. .....................................................16
              d. Plaintiffs’ Equal Protection Claims Against Alleva Are
                 Barred by the One-Year Statute of Limitations for § 1983
                 Claims. ............................................................................................................18

   3. Plaintiffs Fail To Allege Specific Allegations Against Alleva for
      their § 1983 Procedural Due Process Claims, their Claims against
      Alleva in his Official Capacity are Barred by Sovereign
      Immunity, Qualified Immunity Applies to their Claims against
      Alleva in his Individual Capacity, and the § 1983 Claims Are
      Barred by the Applicable Limitations Period. ........................................................20

              a. Plaintiffs Fail to State a Claim for Denial of Procedural
                 Due Process Against Alleva. ..........................................................................20
              b. Plaintiffs’ Claims Against Alleva in his Official Capacity
                 Are Barred Because Government Officials Are Not
                 Recognized As “Persons” For Purposes of § 1983 Claims
                 and by Sovereign Immunity. .........................................................................23
              c. Qualified Immunity Shields Alleva, in his Individual
                 Capacity, From Civil Liability for Plaintiffs’ § 1983 Claim
                 of Violation of Denial of Procedural Due Process. ......................................23
              d. Plaintiffs’ Procedural Due Process Claims Against Alleva
                 Are Barred by the One-Year Statute of Limitations for §
                 1983 Claims. ...................................................................................................24

C. Plaintiffs’ Fail to Make Specific Allegations against Alleva for their
   § 1985 Conspiracy to Deprive Constitutional Rights; Sovereign
   Immunity Bars their § 1985 Claims against Alleva in His Official
   Capacity; Qualified Immunity Applies to their § 1985 Claims against
   Alleva in His Individual Capacity; and the § 1985 Claims are barred
   by the Intracorporate Doctrine, and Applicable Limitations Period..........................25
      Case 3:21-cv-00242-WBV-SDJ                              Document 118-2                  11/08/21 Page 4 of 63




        1. Plaintiffs Fail to Properly Allege a Conspiracy to Interfere with
           Plaintiffs’ Constitutional Rights Pursuant § 1985. .................................................25
        2. Plaintiffs’ Claims Against Alleva in his Official Capacity Are
           Barred Because Government Officials Are Not Recognized As
           “Persons” For Purposes of § 1985 Claims and Are Barred By
           Sovereign Immunity...................................................................................................26
        3. Qualified immunity applies to Plaintiffs’ § 1985 claims. ........................................27
        4. The Intracorporate Doctrine Bars Plaintiffs’ Claims Under §
           1985..............................................................................................................................27
        5. Plaintiffs’ § 1985 Claims are Barred by the Applicable
           Limitations Period. ....................................................................................................28


   D. Plaintiffs’ § 1986 Claims for Neglect to Prevent a Deprivation of
      Constitutional Rights Against Alleva Fail To Allege Specific
      Allegations Against Alleva and are Barred Because Alleva Enjoys
      The Benefit Of Sovereign Immunity For § 1986 Claims in his Official
      Capacity, Qualified Applies Immunity For § 1986 Claims in his
      Individual Capacity, the Plaintiffs’ § 1986 Claims are Barred by the
      Intracorporate Doctrine, the Plaintiffs’ § 1986 Claims are Barred
      Because There is no Underlying Valid § 1985 Claim, and the § 1986
      Claims Are Barred by the Applicable Limitations Period. ..........................................29

        1. Plaintiffs’ Claims Against Alleva in His Official Capacity Are
           Barred By Sovereign Immunity................................................................................29
        2. Qualified immunity applies to Plaintiffs’ § 1986 claims Against
           Alleva in his Individual Capacity .............................................................................29
        3. There is no Valid § 1985 Claim Against Alleva, Thus,
           Preventing Plaintiffs’ § 1986 Claim..........................................................................30
        4. The Intracorporate Doctrine Bars Plaintiffs’ Claims Under §
           1986..............................................................................................................................30
        5. Plaintiffs’ § 1986 Claims are Barred by the Applicable
           Limitations Period. ....................................................................................................30

V. LOUISIANA RACKETEERING ACT CLAIMS. .............................................................31

   A. Plaintiffs Fail to Plead A Plausible Claim Under the Louisiana
      Racketeering Act. .............................................................................................................31
   B. Sovereign Immunity Applies to Plaintiffs’ State Law Racketeering
      Claims Against Alleva in his Official Capacity. ............................................................34
   C. Qualified Immunity Applies to Plaintiffs’ State Law RICO Claims...........................34
   D. Plaintiffs Lack Standing to Assert LRA Claims Against Alleva .................................35

        1. Plaintiffs Do Not have Standing to Assert LRA Claims Because
           Their Alleged Damages Were Not Proximately Caused by the
           Predicate Acts .............................................................................................................35
       Case 3:21-cv-00242-WBV-SDJ                              Document 118-2                  11/08/21 Page 5 of 63




         2. Damages For Personal Injuries or Expenses Related to Personal
            Injuries are not Recoverable under the Racketeering Act.....................................38

    E. Plaintiffs Fail to Allege any Legally Cognizable Enterprise. .......................................40
    F. Plaintiffs Cannot Show the Alleged Acts were Related or Posed a
       Threat of Continued Racketeering Activity. .................................................................41
    G. Plaintiffs Fail to Allege the Required Predicate Act to Support
       Their RICO Claims..........................................................................................................42

         1. Public intimidation and retaliation in violation of La. R.S.
             14:122. .........................................................................................................................42
         2. Intimidating or injuring an impending witness in violation of La.
             R.S. 14:129.1. ..............................................................................................................43
         3. Injuring public records in violation of La. R.S. 14:132. .........................................44
         4. Filing or maintaining false public records in violation of La. R.S.
             14:133. .........................................................................................................................44
         5. Money Laundering in violation of La. R.S. 14:230 .................................................45
         6. Corrupt Influencing in violation of La. R.S. 14:120 ...............................................46

    H. Plaintiffs Fail to Allege Alleva Invested Any Alleged Proceeds From
       a Pattern of Racketeering Activity to Support a Claim Under La.
       R.S. 15:1353(A).................................................................................................................46

    I. Plaintiffs Fail to Allege How Alleva Controlled the So-Called
       “Enterprise”. ....................................................................................................................47

    J. Plaintiffs Fail to Plead a Claim for Violation of §1353(C). .........................................48

    K. Plaintiffs fail to Plausibly Plead Alleva was Engaged in a
       Conspiracy to Violate the LRA.......................................................................................49
    L. Plaintiffs Should not be Given an Opportunity to Amend. .........................................49
VI. STATE LAW TORT CLAIMS ............................................................................................51
    A. Plaintiffs Fail to Make Specific Allegations Against Alleva on the
       Tort Claim. .......................................................................................................................51
    B. To the Extent Plaintiffs Sufficiently Allege Tort Claims Against
       Alleva in his Official and Individual Capacity, Barred by Sovereign
       Immunity, Discretionary Immunity pursuant to La. R.S. 9:2798.1
       and/or Have Prescribed. ..................................................................................................52

         1. Sovereign Immunity Bars Plaintiffs’ State Law Tort Claims
            Against Alleva in his Official Capacity Federal Court. ..........................................52
         2. Discretionary Immunity Bars the State Law Tort Claims Against
            Alleva...........................................................................................................................52
        Case 3:21-cv-00242-WBV-SDJ                          Document 118-2               11/08/21 Page 6 of 63




          3. All of Plaintiffs’ Tort Claims Are Subject to a One-Year
             Prescriptive Period Which Lapsed Prior to the Filing of the
             Original Complaint. ...................................................................................................53

VII. CONCLUSION ...................................................................................................................55
      Case 3:21-cv-00242-WBV-SDJ                Document 118-2         11/08/21 Page 7 of 63




                              UNITED STATES DISTRICT COURT

                              MIDDLE DISTRICT OF LOUISIANA

ABBY OWENS, ET AL                      *        NO.: 3:21-cv-00242
                                       *
VERSUS                                 *        JUDGE: WBV
                                       *
LOUISIANA STATE UNIVERSITY,            *        MAGISTRATE JUDGE: SDJ
ET AL                                  *
                                       *
******************************************************************************
   MEMORANDUM IN SUPPORT OF JOSEPH ALLEVA’S MOTION TO DISMISS

MAY IT PLEASE THE COURT:

        Defendant, Joseph “Joe” Alleva (“Alleva”), respectfully submits this Memorandum in

Support of his Motion to Dismiss pursuant to Rule 12(b)(6) of the Federal Rules of Civil

Procedure.

                                         I. BACKGROUND

        On April 26, 2021, the ten named Plaintiffs1 filed their Original Class Action Complaint

and Jury Demand (“Original Complaint”) asserting twenty (20) counts against various

combinations of the eighteen (18) named Defendants.2 Plaintiffs brought various federal and state

law claims including claims arising under Title IX, claims for various constitutional violations

under 42 U.S.C. §§ 1983, 1985, and 1986, claims pursuant to § 504 of the Rehabilitation Act,

Americans with Disabilities Act (“ADA”),3 federal and state racketeering claims pursuant to the

Racketeering Influenced and Corrupt Organizations Act, 18 U.S.C. §§ 1961-1968, and the

Louisiana Racketeering Act, La. R.S. 15:1351, et seq.,4 and several state law tort claims. On June


1
  One “named” Plaintiff filed under a pseudonym, Jane Doe.
2
  Rec. Doc. 1.
3
  Plaintiffs do not allege any claims against Alleva under the ADA.
4
  The Louisiana Racketeering Act is also known as the Louisiana RICO Act. La. Prac. Emp. Law §14:24; Viking
Constr. Grp. v. Satterfield & Pontikes Constr. Inc., 728 F. App’x 405, 405 (5th Cir. 2018).
                                                    1
       Case 3:21-cv-00242-WBV-SDJ                    Document 118-2            11/08/21 Page 8 of 63




25, 2021, Plaintiffs filed an Amended Class Action Complaint and Jury Demand (“Amended

Complaint”) that merely added named plaintiffs and more defendants, bringing the total to twenty

(20) named Defendants.5 Plaintiffs dismissed the federal RICO claims against all Defendants on

September 7, 2021.6          Thereafter, the Court issued a Louisiana Racketeering Act Order on

September 27, 2021, requiring Plaintiffs to provide more detail and factual allegations regarding

their state law RICO claims.7 On October 18, 2021, Plaintiffs filed their Louisiana Racketeering

Act Case Statement (“Case Statement”) with the Court.8

         The crux of Plaintiffs’ allegations is, from roughly 2014 to 2020, Louisiana State

University (“LSU”) its employees and third parties violated their Title IX obligations and

Plaintiffs’ Constitutional Rights under the United States Constitution by failing to maintain an

adequate reporting, investigation, and disciplinary system for sexual assault complaints.9 10 The

majority of Plaintiffs’ claims arise from alleged sexual misconduct and assault committed by

fellow students at LSU.11 None of the alleged perpetrators of sexual misconduct against the

Plaintiffs are named Defendants to the instant lawsuit. All of the named Defendants are either

current or former employees of LSU or hold a position on LSU’s Board of Supervisors.12

         Alleva served as Athletic Director for LSU from July 1, 2008 through April 17, 2019.13


5
  Rec. Doc. 2.
6
  Rec. Doc. 67.
7
  Rec. Doc. 93.
8
  Rec. Doc. 103.
9
  Rec. Doc. 1, at ¶¶ 110-352.
10
   The Louisiana Racketeering Act is also known as the Louisiana RICO Act. La. Prac. Emp. Law §14:24; Viking
Constr. Grp. v. Satterfield & Pontikes Constr. Inc., 728 F. App’x 405, 405 (5th Cir. 2018).
11
   However, there are two exceptions. Defendant Kennan Johnson’s claims arise from alleged verbal abuse by her
tennis coaches. Rec. Doc. 22, at pp. 65-69, ¶¶ 283-301. The other exception is the allegations of Plaintiff Sarah Beth
Kitch whose claims relate to sexual misconduct by an LSU professor. Rec. Doc. 22, at pp. 79-83, ¶¶ 340-352.
12
   The two exceptions are the Tiger Athletic Foundation (“TAF”), and “O” Rosy Finch Boyz, LLC (“O Rosy Finch
Boyz”).
13
   Rec. Doc. 22, at p. 8, ¶ 35.

                                                          2
       Case 3:21-cv-00242-WBV-SDJ                   Document 118-2            11/08/21 Page 9 of 63




Alleva is no longer employed by LSU in any capacity. Plaintiffs, many of whom have left LSU,

waited to file their Original Complaint after the release of the Husch Blackwell Report on March

3, 2021.14

                                II. SUMMARY OF THE ARGUMENT

        Plaintiffs’ claims against Alleva all fail. Plaintiffs’ Title IX claims do not apply to Alleva

or any individual Defendant(s). Plaintiffs’ claims against Alleva for violations of their

constitutional rights to free speech, equal protection, and due process under §§ 1983, 1985, and

1986, in his official and individual capacity, fail to sufficiently plead a factual basis for each claim

against Alleva, are barred by sovereign immunity, qualified immunity, and/or the time limitations

applicable for each claim. Plaintiffs’ state law claims are similarly insufficiently plead against

Alleva, are barred by sovereign immunity, discretionary immunity, and/or are barred by the

applicable prescriptive period for Louisiana state law tort claims.

        Plaintiffs’ LRA claims fail for numerous reasons. First, Plaintiffs fail to make specific

allegations as to Alleva’s participation in a pattern of racketeering activity. Second, Plaintiffs fail

to plausibly allege their injuries were proximately caused by the alleged predicate acts. Third,

Plaintiffs’ alleged injuries arise from or are closely related to personal injuries, which are not

recoverable under the LRA. Fourth, Plaintiffs fail to distinguish the RICO15 person from the

alleged RICO enterprise. Fifth, Plaintiffs fail to allege an ongoing organization or a continuing

unit. Sixth, Plaintiffs fail to plausibly plead a pattern of racketeering activity and the relationship

between the predicate acts alleged against Alleva and the threat of continuing activity.


14
   Rec. Doc. 22-1, at p. 1. Husch Blackwell is a law firm retained by LSU to conduct an independent review of several
Title-IX related incidents. While the Husch Blackwell Report portrays itself as being thorough, there were numerous
interviews that were not conducted that would have added further context to the findings in the Report.
15
   The terms “RICO” and “racketeering” will be used interchangeable throughout the Memorandum.

                                                         3
         Case 3:21-cv-00242-WBV-SDJ                     Document 118-2              11/08/21 Page 10 of 63




           Under Plaintiffs’ theory of the case against Alleva on the LRA claims, every Athletic

Director in the country would be subject to potential racketeering claims solely because they are

the head of the athletic department.

                                                  III. ARGUMENT

           A. Plaintiffs’ Complaint Fails To Meet Pleading Requirements As To Alleva.

           Plaintiffs’ Amended Complaint is one hundred forty-five (145) pages long and contains

five hundred eighty-nine (580) separate paragraphs (excluding subparagraphs) and only contains

seven (7) specific references to Alleva.16 Four (4) of these seven (7) references to Alleva appear

in the paragraph listing him as a named Defendant and alleging his position at LSU and domicile,

which leaves only three (3) specific references to Alleva in the allegations of the Amended

Complaint. Due to the lack of specific allegations against Alleva, Plaintiffs fail to satisfy the

pleading requirements under Federal Rule of Civil Procedure 8.

           Under Rule 8(a)(2) of the Federal Rules of Civil Procedure, a complaint must contain a

short and plain statement identifying the claim and showing that the pleader is entitled to relief.

Ashcroft v. Iqbal, 556 U.S. 662, 677–678 (2009) (citing Bell Atlantic Corp. v. Twombly, 550 U.S.

544 (2007)). The Rule requires a complaint, on its face, to contain allegations of fact that, if

accepted as true, state a plausible claim for relief by the plaintiff. Id. at 678. A pleading that relies

on “labels and conclusions” or a “formalistic recitations of the elements of a cause of action” will

not meet the pleading requirements under F.R.C.P. Rule 8. Id. A pleading requires more than “…

an unadorned, the defendant-unlawfully-harmed-me accusation.” Id. Even though courts are

instructed to accept all of the allegations contained in the complaint as true, courts are not required



16
     See Rec. Doc. 22, at pp. 8, 9 (¶ 35), 101 (¶ 413), 119 (¶ 492), 120 (¶ 492).

                                                              4
     Case 3:21-cv-00242-WBV-SDJ               Document 118-2       11/08/21 Page 11 of 63




accept as true legal conclusions cloaked as factual allegations. Id. Furthermore, a plaintiff must

meet the plausibility requirement, which requires more than mere allegations that are consistent

with a defendant’s liability. Id. The Supreme Court has instructed district courts to expeditiously

dismiss claims that clearly fail to provide any legal relief to the plaintiff. Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 558.

          The Complaint fails to state a claim upon which relief may be granted because it fails to

adequately allege facts that would entitle the Plaintiffs to relief against Alleva under Title IX, §§

1983, 1985, and 1986, the LRA, and state law tort claims. Plaintiffs only allege mere legal

conclusions against Alleva with no factual allegations supporting those legal conclusions, thus,

fails the pleading requirements the Federal Rules of Civil Procedure. Ashcroft v. Iqbal, 556 U.S.

at 678.

          The individual allegations of Plaintiffs, Elizabeth Andries, Jane Doe and Sarah Beth Kitch,

do not contain any allegations that Alleva, or anyone else in the Athletic Department for that

matter, was involved with the alleged mishandling of their reports of sexual misconduct; thus, their

claims do not comply with the requirement of F.R.C.P. 8. Ashcroft v. Iqbal, 550 U.S. at 678.

Likewise, Plaintiff, Corinn Hovis, enrolled at LSU after Alleva was no longer the Athletic

Director; therefore, her allegations do not comply with F.R.C.P.8. To the extent the Court

determines the allegations of Plaintiffs, Andries, Doe, Kitch, and Hovis, comply with F.R.C.P. 8

with respect to Alleva, Alleva adopts the following arguments as to their claims.

                                         IV. FEDERAL CLAIMS

          Plaintiffs allege the following claims based on federal law against Alleva in both his

official and individual capacity:



                                                   5
      Case 3:21-cv-00242-WBV-SDJ                     Document 118-2            11/08/21 Page 12 of 63




     A. Violations of Title IX;17

     B. 42 U.S.C. § 1983 claims based on three (3) alleged violations of Plaintiffs’ rights under the
        First and Fourteenth Amendments to the United States Constitution, as follows:

             1. Retaliation against Plaintiffs for exercising their First Amendment right to free
                speech;18

             2. Denial of Equal Protection under the Fourteenth Amendment;19 and

             3. Denial of Procedural Due Process under the Fourteenth Amendment;20

     C. Claims based on 42 U.S.C. §§ 1985, 1986 alleging conspiracy to deprive Plaintiffs of their
        Constitutional rights of Free Speech, Due Process, and Equal Protection and neglect to stop
        the conspiracy.21

     Defendant, Alleva, will address each individual federal claim in respect to both his official and

individual capacities.

         A. Title IX Does Not Provide A Cause Of Action Against Individuals (Counts I-V).

         Plaintiffs bring various claims against specific Defendants based on the alleged violation

of Title IX.22 While Plaintiffs’ seemingly attempt to exclude the individual defendants from

Counts I-IV of the Title IX claims, there is confusion as to which defendants are included in the

definition of “LSU Defendants,” which is used in various paragraphs of their Title IX allegations.23

Therefore, out of an abundance of caution, Alleva will briefly address Plaintiffs’ Title IX claims.




17
   Rec. Doc. 22, at pp. 91-104, ¶¶ 366-422.
18
   Rec. Doc. 22, at pp. 104-106, ¶¶ 423-432.
19
   Rec. Doc. 22, at pp. 106-108, ¶¶ 433-440.
20
   Rec. Doc. 22, at pp. 108-111, ¶¶ 441-450.
21
   Rec. Doc. 22, at pp. 111-112, ¶¶ 451-456.
22
   Specifically, Plaintiffs allege Deliberate Indifference to Sex Discrimination (Count I), Hostile Environment (Court
II), Heightened Risk (Court III), Erroneous Outcome (Count IV), and Retaliation by Withholding Protection (Count
V). Rec. Doc. 22, at pp. 91-101 , ¶¶ 366-407.
23
   See Rec. Doc. 22, at p. 91, ¶ 369; Compare with Rec. Doc. 22, p. 11, ¶ 49 (“[c]ollectively, the Board of Supervisors,
LSU, and the individually named Defendants in their official capacities shall be referred to as ‘the LSU Defendants’”).

                                                           6
      Case 3:21-cv-00242-WBV-SDJ                     Document 118-2            11/08/21 Page 13 of 63




         Plaintiffs cannot bring claims against Alleva, either in his individual capacity or official

capacity, for alleged violations of Title IX. Title IX provides that “[n]o person ... shall, on the

basis of sex, be excluded from participation in, be denied the benefits of, or be subjected to

discrimination under any education program or activity receiving Federal financial assistance.” 20

U.S.C. § 1681(a). It is well settled Title IX does not authorize suits against individuals, including

school officials, as Title IX only applies to educational programs or activities that receive federal

financial assistance. Alegria v. Williams, 314 F. App'x 687, 690 (5th Cir. 2009); Minnis v. Bd. of

Sup'rs of Louisiana State Univ. & Agric. & Mech. Coll., 972 F.Supp. 2d 878, 889 (M.D. La.

2013).24 Therefore, Plaintiffs’ Title IX claims against Alleva should be dismissed, with prejudice.

         B. Plaintiffs’ Claims Brought Pursuant To 42 U.S.C. § 1983 (Counts VI-VIII) Should
            Be Dismissed.

             1. Plaintiffs Fail To Properly Plead a Cognizable First Amendment Retaliation
                Claim Against Alleva; Sovereign Immunity Applies to the § 1983 Claims In
                Alleva’s s Official Capacity and Qualified Immunity Applies to the § 1983
                Claims in his Individual Capacity; and the § 1983 Claims Are Time Barred.

                  a. Plaintiffs Fail to Allege a Cognizable First Amendment Retaliation Claim
                     Against Alleva.

         Plaintiffs assert Alleva and all the other Defendants retaliated against Plaintiffs for

exercising their First Amendment right to Free Speech.25 To establish a First Amendment claim

for retaliation against a public official, a plaintiff must show: (1) he or she was engaged in a



24
   See also, Fitzgerald v. Barnstable Sch. Comm., 555 U.S. 246, 257 (2009) (recognizing that courts have consistently
interpreted Title IX as not providing a cause of action against individuals); See also Sewell v. Monroe City Sch. Bd.,
974 F.3d 577, 582 (5th Cir. 2020) (finding that the plaintiff’s failure to appeal the dismissal of Title VI and Title IX
“… makes sense as claims under those statutes may be brought only against the institution receiving federal funds,
not employees of those institutions.”); Pemberton v. W. Feliciana Par. Sch. Bd., No. CIV.A. 09-30-C, 2010 WL
431572, at *4 (M.D. La. Feb. 3, 2010) (“Title IX has consistently been interpreted as not authorizing suit against
school officials, teachers and other individuals.”). In Minnis, the Court summarily dismissed the plaintiff’s Title IX
claims against Alleva and several other individual defendants who are also named in the instant lawsuit.
25
   Rec. Doc. 22, at pp. 104-106, ¶¶ 423-432.

                                                           7
      Case 3:21-cv-00242-WBV-SDJ                      Document 118-2             11/08/21 Page 14 of 63




constitutionally protected activity; (2) the public official’s actions caused the plaintiff to suffer an

injury that would chill a person of ordinary firmness from continuing that activity; and (3) the

public official’s adverse action was substantially motivated against the plaintiff’s exercise of

constitutionally protected conduct. Johnson v. Bowe, No. 19-40615, 856 Fed. Appx. 487, 492 (5th

Cir. Apr. 12, 2021).

         Plaintiffs fail to make any specific allegations Alleva violated Plaintiffs’ First Amended

rights in the Amended Complaint. Plaintiffs only generally allege the LSU Defendants’ conduct

caused a chilling effect on their free speech because the LSU Defendants: failed to investigate and

report their complaints of sexual assault and/or misconduct shamed and laughed at Plaintiffs when

they reported complaints of sexual misconduct; explained to Plaintiffs that they made “the right

choice” in not reporting the alleged sexual misconduct; told Plaintiffs’ teammates to avoid them

after they made complaints sexual misconduct; and provided insufficient training on reporting

rights of students.26 While the reporting of alleged misconduct by a student may qualify as

protected speech, Plaintiffs fail to state a retaliation claim against the LSU Defendants since their

alleged actions or inactions would not chill a person of ordinary firmness from continuing to

exercise their rights to free speech.27

         Plaintiffs’ Amended Complaint does not allege Alleva had any face-to-face interactions

with any of the Plaintiffs;28 thus, the basis of their claims against Alleva have to be predicated on

his alleged inaction. However, Plaintiffs’ retaliation claim cannot be based on Alleva’s alleged



26
   Rec. Doc. 22, at p. 105, ¶ 427.
27
   Colson v. Grohman, 174 F.3d 498, 512 (5th Cir. 1999). In Colson, the U.S. Fifth Circuit Court of Appeals found
alleged criticism of the plaintiff, a criminal investigation, and false allegations about the plaintiff were not sufficient
retaliatory actions to chill a person of ordinary firmness. Id. at 511-513.
28
   Rec. Doc. 22, at pp. 104-106, ¶¶ 423-432.

                                                            8
      Case 3:21-cv-00242-WBV-SDJ                      Document 118-2            11/08/21 Page 15 of 63




“inaction.” Thomas v. Town of Chelmsford, 267 F. Supp. 3d 279, 305 (D. Mass. 2017).29

Plaintiffs also fail to assert any alleged conduct by Alleva was substantially motivated by the

Plaintiffs’ alleged protected speech which is required to establish a First Amendment retaliation

claim. Johnson, 856 Fed. Appx. at 492. Contrary to the general allegations against Alleva in the

Amended Complaint, the exhibits show Alleva made concerted efforts to enable compliance with

Title IX by the LSU Athletic Department.30

         For the reasons stated above, Plaintiffs’ First Amendment retaliation claim fails to state a

claim against Alleva under § 1983.                 Nevertheless, even if it is determined that Plaintiffs’

allegations surpass the pleading threshold for a First Amendment retaliation claim, Alleva is

immune from their claim by the doctrines of sovereign immunity and/or qualified immunity.

                  b. Plaintiffs Cannot Bring a § 1983 Claim Against Alleva in his Official
                     Capacity Because he is Not a “Person” for Purposes of Claims under § 1983
                     and are Barred by the Doctrine of Sovereign Immunity.

                       i. Government Officials in Their Official Capacity are not Recognized as
                          a “Person” under § 1983.

         Alleva, in his official capacity as an employee of LSU, cannot be liable for alleged

constitutional violations under § 1983.               Claims brought pursuant to § 1983 only apply to

defendants recognized as “persons” under the statute.31 The U. S. Supreme Court has expressly

held that neither a state, nor its officials acting in their official capacity, are “persons” under §


29
   Retaliation by inaction is a novel, unsupported theory that fails to allege a cognizable First Amendment retaliation
claim. In Thomas, the court found a lack of support for the plaintiffs’ theory that inaction or deliberate indifference
by school officials could support a First Amendment retaliation claim. 267 F. Supp. 3d at 305.
30
   See Rec. Doc. 22-1, at pp. 195-198 (Email from Joe Alleva to all Athletics Staff dated June 8, 2016); Rec. Doc. 22-
1, at pp. 199-200 (Joe Alleva Memo to All Athletics Employees dated February 14, 2018).
31
   “Every person who, under color of any statute, ordinance, regulation, custom, or usage, of any State or Territory or
the District of Columbia, subjects, or causes to be subjected, any citizen of the United States or other person within
the jurisdiction thereof to the deprivation of any rights, privileges, or immunities secured by the Constitution and laws,
shall be liable to the party injured in an action at law, suit in equity, or other proper proceeding for redress …”. 42
U.S.C. §1983 (emphasis added).

                                                            9
      Case 3:21-cv-00242-WBV-SDJ                     Document 118-2           11/08/21 Page 16 of 63




1983. Will v. Michigan Dep't of State Police, 491 U.S. 58, 71 (1989). The express holding in Will

removes Alleva in his official capacity from liability under § 1983; thus, Plaintiffs’ First

Amendment retaliation claims against Alleva, in his official capacity, must be dismissed.

                      ii. Sovereign Immunity Under the Eleventh Amendment Bars § 1983
                          Claims Against State Officials in Their Official Capacity.

         The Eleventh Amendment protects States from being sued in federal courts. U.S. Const.

Amend. XI; Kooros v. Nicholls State Univ., 379 Fed. Appx. 377, 378 (5th Cir. 2010). Alleva

enjoys the protection of Eleventh Amendment sovereign immunity for Plaintiffs’ First Amendment

retaliation claims brought pursuant to § 198332 in his official capacity as Athletic Director of LSU.

Will, 491 U.S. at 68. Sovereign immunity applies because claims against a state official in his

official capacity are treated as a suit against the official’s office. Kooros, 379 Fed. Appx. at 379–

80.33 Therefore, the claims against Alleva in his official capacity must be dismissed.

                  c. Qualified Immunity Shields Alleva, in his Individual Capacity, From Civil
                     Liability for Plaintiffs’ § 1983 Claim of First Amendment Retaliation.

         Alleva is entitled to qualified immunity on Plaintiffs’ First Amendment retaliation claims

against him in his individual capacity. Pearson v. Callahan, 555 U.S. 223, 237 (2009); Kooros,

379 Fed. Appx. at 379.34 Qualified immunity is grounded in the need to shield government



32
   Sovereign immunity likewise bars Plaintiffs’ other § 1983 claims, along with Plaintiffs’ claims under §§ 1985, and
1986. For the sake of clarity, Alleva will address each claim in turn and will refer back to the certain arguments such
as sovereign immunity where applicable.
33
   See also, Minnis, 972 F. Supp. 2d at 887 (dismissing § 1983 claims against Alleva in his official capacity because
of sovereign immunity); Early v. S. Univ. & Agr. & Mech. Coll. Bd. of Sup'rs, 252 Fed. Appx. 698, 700 (5th Cir. 2007)
(applying qualified immunity to §§ 1983, 1985, and 1986 claims against university officials); Gaines v. Texas Tech
Univ., 965 F.Supp. 886, 889 (N.D. Tex. 1997) (RICO claims against Texas Tech officials in their official capacity
was barred by sovereign immunity); Chestang v. Alcorn State Univ., 820 F. Supp. 2d 772, 779 (S.D. Miss.2011)
(finding a state is not a “person” within the meaning of § 1983; thus, government officials cannot be held liable for
violations of § 1983 in their official capacity).33
34
   Since qualified immunity is an immunity from suit rather than a defense to liability, whether qualified immunity
applies or not should be decided at the earliest early stages in of litigation. Pearson, 555 U.S. at 231-232.

                                                         10
      Case 3:21-cv-00242-WBV-SDJ                     Document 118-2            11/08/21 Page 17 of 63




officials from harassment, distraction, and liability for reasonable acts taken while performing his

or her duties. Pearson, 555 U.S. at 231.35 It is well settled qualified immunity applies to

government officials who are sued in their individual capacity for civil damages for performing

discretionary functions. Id. at 237; Anderson v. Creighton, 483 U.S. 635, 638 (1987). Alleva, at

all relevant times, was acting within his course and scope of employment as Athletic Director for

LSU.36 Therefore, Alleva is entitled to qualified immunity for all of Plaintiffs’ claims against him

in his individual capacity.

          Once a defendant raises the defense of qualified immunity, the burden shifts to the

plaintiff to show qualified immunity is not applicable. Cantrell v. City of Murphy, 666 F.3d 911,

918 (5th Cir. 2012); Kooros, 379 Fed. Appx. at 379. In order to defeat qualified immunity, a

plaintiff must show there was a violation of a constitutional right, and that the right was clearly

established at the time of the alleged violation. Kooros, 379 Fed. Appx. at 379. To qualify as a

clearly established right, existing precedent must have placed the statutory or constitutional

question beyond debate. Morgan v. Swanson, 659 F.3d 359, 372 (5th Cir. 2011).37 A government

official does not lose qualified immunity if a certain right is only established in the abstract. Ziglar

v. Abbasi, 137 S.Ct. 1843, 1866 (2017); Cantrell v. City of Murphy, 666 F.3d 911, 920 (5th Cir.

2012).




35
   In other words, qualified immunity gives government officials “breathing room” for potential mistakes in judgment
so long as the officials conduct is reasonable and does not violate clearly established rights. Ziglar v. Abbasi, 137 S.
Ct. 1843, 1866 (2017).
36
   Rec. Doc. 22, at p. 11, ¶ 50.
37
   It is the plaintiff’s burden to point to controlling authority or a significant amount of persuasive authority which
defines the contours of the right with a high degree of particularity. Morgan, 659 F.3d at 371–72.

                                                          11
      Case 3:21-cv-00242-WBV-SDJ                      Document 118-2             11/08/21 Page 18 of 63




         The Court must evaluate Alleva’s qualified immunity defense in light of the specific

allegations made against him in Plaintiffs’ Amended Complaint, which there are few. 38 Plaintiffs

assert no specific allegations against Alleva relating to their First Amendment retaliation claim.39

All of Plaintiffs’ allegations regarding their First Amendment claim are generally plead against all

named Defendants, and, at best, attempt to plead claims of ordinary negligence against the

Defendants.40       Plaintiffs cannot rest on the general allegations contained in the Amended

Complaint but must put forth specific evidence supporting their claim that Alleva violated their

First Amendment right and acted in an unreasonable manner. Kooros, 379 Fed. Appx. at 379.

Legal conclusions couched as factual allegations are not sufficient to carry the Plaintiffs’ burden

of proving Alleva is not entitled to qualified immunity. Minnis, 972 F. Supp. 2d at 886-87.41

Plaintiffs cannot meet their burden of overcoming Alleva’s defense of qualified immunity, and

their § 1983 claim against Alleva for First Amendment retaliation should be dismissed.




38
   Courts must evaluate whether qualified immunity applies as to each specific defendant. Therefore, the Plaintiffs
cannot lump in general allegations made against other Defendants to defeat Alleva’s qualified immunity. Meadours
v. Ermel, 483 F.3d 417, 421 (5th Cir. 2007).
39
   For a government official to be liable under § 1983, the official must be either personally involved in the acts causing
the deprivation of a constitutional right, or there must be a sufficient causal connection between the officials conduct
and the alleged constitutional violation. Lozano v. Smith, 718 F.2d 756, 768 (5th Cir. 1983).
40
   Rec. Doc. 22, at pp. 104-106, ¶¶423-432. Negligence cannot support a violation of § 1983. Diaz ex rel. Diaz v.
Mayor of Corpus Christi, 121 F. App'x 36, 39 (5th Cir. 2005); Hick v. Bexar Cty., Tex., 973 F. Supp. 653, 674 (W.D.
Tex. 1997), aff'd sub nom., Hicks v. Bexar Cty., 137 F.3d 1352 (5th Cir. 1998).
41
   In Minnis, the plaintiff filed a lawsuit against LSU and several officials in the Athletic Department, including Alleva,
alleging his constitutional rights had been violated when he was fired from his position as the Woman’s Tennis Coach.
In granting Alleva’s motion to dismiss the claims based on alleged constitutional violations, the Court stated
“[Plaintiffs’] allegations against Alleva, taken as a whole, are mere legal conclusions couched as factual allegations
that the Court is not required to accept as true.” 972 F. Supp. 2d at 884. Similarly, in the instant case, Plaintiffs make
very few specific allegations against Alleva and cannot meet their burden of showing qualified immunity does not
apply.

                                                           12
      Case 3:21-cv-00242-WBV-SDJ                    Document 118-2           11/08/21 Page 19 of 63




             d. Plaintiffs’ First Amendment Retaliation Claim Against Alleva is Barred by the
                One-Year Statute of Limitations for § 1983 Claims.

        Plaintiffs’ claims against Alleva are barred by Louisiana’s limitations period for tort

claims. Auster Oil & Gas, Inc. v. Stream, 835 F.2d 597, 604 (5th Cir. 1988); Aucoin v. Kennedy,

355 F. Supp. 2d 830, 844 (E.D. La. 2004). The applicable statute of limitations for § 1983 claims

brought in Louisiana federal courts is one year. Auster Oil & Gas, Inc., 835 F.2d at 604. However,

federal common law governs when the applicable limitations period begins to run for § 1983

claims. Farmer v. Mouton, No. CV 16-16459, 2018 WL 1123573, at *17 (E.D. La. Feb. 28, 2018)

(quoting Heath v. Bd. of Supervisors, 850 F.3d 731, 737 (5th Cir. 2017)). Under federal law, the

limitations period for § 1983 claims begin to run the moment the plaintiff knows or has reason to

know of the injury. Id. Plaintiffs’ alleged § 1983 claims for First Amendment retaliation that

accrued prior to April 26, 2020 are barred.42

        In the instant case, Plaintiffs, Richardson, Robertson, Brennan, Owens, Lewis, and

Johnson, all had sufficient knowledge of their claims when they either received the final

determination of their Title IX complaints (2018),43 left LSU because of the alleged lack of support




42
  Plaintiffs’ Original Complaint was filed on April 26, 2021. See Rec. Doc. 1.
43
   Rec. Doc. 22, at pp. 31 (¶ 133), 34 (¶¶ 145-153). Plaintiff Richardson found out that Sharon Lewis would not
receive any discipline or sanction from LSU regarding her handling of complaints against John Doe and John Coe on
or around November 18, 2018. Rec. Doc. 22, at p. 64, ¶ 278. Plaintiff Lewis’ father sent a letter to the Southeastern
Conference on October 18, 2018 informing them that LSU had failed to take appropriate action regarding Plaintiff
Lewis’ complaints of sexual misconduct.

                                                        13
      Case 3:21-cv-00242-WBV-SDJ                     Document 118-2             11/08/21 Page 20 of 63




they received from LSU’s administration (2016/2017),44 or graduated from LSU (2019).45

Stringer v. Town of Jonesboro, 986 F.3d 502, 512–13 (5th Cir. 2021).46 Furthermore, Alleva was

no longer the Athletic Director at LSU after April 17, 2019; therefore, any alleged cause of action

that arose after his departure as LSU’s Athletic Director would not apply to Alleva.47

         The statute of limitation on Plaintiffs’ § 1983 claims for First Amendment retaliation lapsed

well before Plaintiffs filed their Original Complaint on April 26, 2021. Therefore, Plaintiffs’ §

1983 claims against Alleva should be dismissed, with prejudice.

             2. Plaintiffs Fail to Allege Specific Allegations Against Alleva for their § 1983
                Equal Protection Claims, their Claims are Barred Because Alleva Enjoys
                Sovereign Immunity in his Official Capacity and Qualified Immunity in his
                Individual Capacity, and their Claims Are Barred by the Applicable
                Limitations Period.

                  a. Plaintiffs Fail to State a Claim for Denial of Equal Protection Against
                     Alleva.

         Plaintiffs assert § 1983 claims against Alleva for the alleged denial of equal protection in

violation of the Fourteenth Amendment.48                  Plaintiffs allege, generally, that all Defendants

discriminated against the Plaintiffs on the basis of sex by subjecting them to a hostile environment

and failing to appropriately respond to and investigate their reports of sexual and other misconduct


44
   Rec. Doc. 22, at p. 40, ¶ 174. Plaintiff Robertson withdrew from LSU in September 2017 because of alleged issues
caused by sexual misconduct of another student and for the alleged failure of LSU to provide appropriate support and
resources. Rec. Doc. 22, at p. 43, ¶¶ 184-185. Plaintiff Brennan left LSU in the fall of 2016 because the alleged lack
of support from Athletic Department. Rec. Doc. 22, at p. 46, ¶ 200. Plaintiff Owens left LSU in March 2017 because
of the allege lack of support, resources, accommodations, or interim measures by LSU to ensure she could finish her
degree.
45
   Rec. Doc. 22, at p. 69, ¶ 299. Plaintiff Johnson graduated from LSU in the spring of 2019. Plaintiff Johnson alleges
verbal abuse by the LSU tennis coaches and does not allege anything that would toll the limitations period for failure
of the requisite knowledge of her claim.
46
    In Stringer, the court concluded that the plaintiff’s cause of action for First Amendment retaliation under § 1983
accrued when she made repeated complaints to the town, and the town allegedly started to retaliate against the plaintiff.
47
   Including, all the allegations of Plaintiff Hovis which occurred entirely after Alleva was no longer Athletic Director
at LSU. Rec. Doc. 22, at pp. 75-79, ¶¶ 322-339.
48
   Rec. Doc. 22, at pp. 106-108, ¶¶ 433-440. The Fourteenth Amendment prohibits a state from denying any person
within its jurisdiction of equal protection of the law. U.S. Const. Amend. XIV.

                                                          14
         Case 3:21-cv-00242-WBV-SDJ            Document 118-2       11/08/21 Page 21 of 63




perpetrated by LSU students.49 Plaintiffs fail to asset any specific allegations regarding Alleva

related to their § 1983 equal protection claim, which does not comply with the pleading

requirements of F.R.C.P. 8.50

           To plead a claim pursuant to § 1983 for denial of equal protection, a plaintiff must allege

that (1) he or she received different treatment than similarly situated individuals, and (2) the

unequal treatment was a result of discriminatory intent. Cook v. Hopkins, 795 F. App'x 906, 914

(5th Cir. 2019), cert. denied, 140 S. Ct. 2643 (2020). To establish discriminatory intent, a plaintiff

must show a decision maker singled out a particular group or class of persons for disparate

treatment, and this disparate treatment was selected for the purpose of causing adverse effects on

the identifiable group. Fennell v. Marion Indep. Sch. Dist., 804 F.3d 398, 412 (5th Cir. 2015).

           In the Amended Complaint, Plaintiffs fail to assert any non-conclusory allegations to

support they were treated differently than a similarly situated person on the basis of their sex, or

that any alleged conduct by Alleva was motivated by a discriminatory intent. Even assuming

arguendo that there were potential issues regarding the reporting of alleged misconduct by student

athletes (which Alleva wholly denies), those issues were not based on any intent to cause adverse

effects on Plaintiffs because of their sex. On its face, the Amended Complaint falls far short of

asserting the requisite allegations against Alleva to support a claim for denial of equal protection

under the Fourteenth Amendment. Therefore, the § 1983 claims against Alleva based on the

alleged denial of equal protection should be dismissed.




49
     Rec. Doc. 22, at p. 107, ¶ 436.
50
     See Ashcroft v. Iqbal, 550 U.S. at 678.

                                                   15
      Case 3:21-cv-00242-WBV-SDJ                    Document 118-2     11/08/21 Page 22 of 63




                  b. Plaintiffs’ Claims Against Alleva in his Official Capacity Are Barred
                     Because Government Officials Are Not Recognized as “Persons” for
                     Purposes of § 1983 Claims, and by the Doctrine of Sovereign Immunity.

         For the same reasons addressed in Section IV(B)(1)(b), hereinabove,51 Plaintiffs’ claims

against Alleva in his official capacity should be dismissed because he does not fit the definition of

a “person” under § 1983; thus, Alleva is shielded from liability by the doctrine of sovereign

immunity.52 Therefore, Plaintiffs’ § 1983 claims against Alleva, in his official capacity, should be

dismissed, with prejudice.

                  c. Qualified Immunity Shields Alleva, in his Individual Capacity, from Civil
                     Liability for Plaintiffs’ § 1983 Claims for Violation of Equal Protection.

         Plaintiffs assert claims against Alleva, in his individual capacity, pursuant to § 1983 for the

alleged violation of the equal protection clause in the Constitution. Plaintiffs base their equal

protection claims on the alleged failure to properly investigate and respond to the reports of sexual

misconduct by other LSU students.53 While Plaintiffs fail to make specific allegations against

Alleva, the § 1983 equal protection claims are seemingly based on his alleged failure to comply

with Title IX with respect to their reports of sexual misconduct by other LSU students. For the

reasons outlined above in Section IV(B)(1)(c),54 and for the reasons that follow, qualified

immunity applies to Plaintiffs’ § 1983 equal protection claims against Alleva in his individual

capacity.

         Plaintiffs bear the burden of overcoming Alleva’s defense of qualified immunity by

showing his conduct violated a clearly established right and if so, that the conduct led was not



51
   Supra at p. 9.
52
   Will, 491 U.S. at 71; See also, Kooros, 379 Fed. Appx. at 379-80.
53
   Rec. Doc. 22, at p. 107, ¶ 436.
54
   Supra at p. 10.

                                                         16
      Case 3:21-cv-00242-WBV-SDJ                     Document 118-2             11/08/21 Page 23 of 63




“objectively reasonable.” Coleman v. Houston Indep. Sch. Dist., 113 F.3d 528, 532–33 (5th Cir.

1997). Plaintiffs’ general allegations fail to allege Alleva engaged in conduct that violated a clearly

established right. Plaintiffs attempt to allege they were entitled to a certain result as a result of the

investigation and handling of their complaints of sexual misconduct perpetrated by other LSU

students. It is important to note that Plaintiffs’ injuries were caused by separate, private third-party

actors,55 and their allegations are based on the Defendants’ alleged inaction.56 To the extent

Plaintiffs are claiming the LSU students who perpetrated the alleged sexual misconduct received

disproportionate treatment because of their status as high-profile college athletes, their claims do

not establish that Alleva’s alleged conduct violated any clearly established rights. See, e.g.,

Williams v. Bd. of Regents of Univ. Sys. of Georgia, 477 F.3d 1282, 1301 (11th Cir.

2007)(defendants’ “win at all cost” attitude in recruiting a basketball player with a history of

criminal and disciplinary conduct did not violate the plaintiff’s equal protection rights after the

plaintiff was sexually assaulted by the player).

         The only specific allegations against Alleva, which are contained in other sections of the

Amended Complaint, involve his alleged failure to ensure the LSU Athletic Department complied

with Title IX,57 and his alleged negligence in supervising and training LSU Athletic Department

personnel.58 Both of these arguments fail to meet the Plaintiffs’ heavy burden of defeating

qualified immunity.




55
   The U.S. Fifth Circuit Court of Appeals has held there is no constitutional right to state protection for acts carried
out by a private actor, and the Equal Protection Clause should not be used circumvent that rule. Beltran v. City of El
Paso, 367 F.3d 299, 304 (5th Cir. 2004).
56
   While Plaintiffs allege a “hostile environment” as part of the alleged denial of equal protection, there are no
allegations that any Plaintiff specifically interacted with Alleva.
57
   Rec. Doc. 22, at p. 101, ¶ 413.
58
   Rec. Doc. 22, at p. 119, ¶ 492.

                                                          17
      Case 3:21-cv-00242-WBV-SDJ                    Document 118-2            11/08/21 Page 24 of 63




         First, the exhibits to Plaintiffs’ Amended Complaint show Alleva issued several internal

communications reminding all Athletic Department personal to abide by the requirements of Title

IX and LSU’s policies and discouraged any self-investigation by the Athletic Department staff.59

Alleva’s communications show he acted reasonably, thus, he entitled to qualified immunity.

Second, alleged Title IX violations cannot form the basis of a § 1983 claim for violation of the

Equal Protection Clause. Wilkerson v. Univ. of N. Texas, 223 F. Supp. 3d 592, 608 (E.D. Tex.

2016). Third, any potential violation or noncompliance with Title IX does not rise to the level of

a “clearly established” right required for qualified immunity. Id. Fourth, government officials

whose conduct violates a statutory or administrative rule do not lose the protections of qualified

immunity and the Amended Complaint fails to make specific allegations that Alleva violated any

statutory or administrative rule. Beltran v. City of El Paso, 367 F.3d 299, 308 (5th Cir. 2004)

(citing Davis v. Scherer, 468 U.S. 183, 195-197 (1984)). Finally, allegations of negligence cannot

form the basis of a constitutional violation. Diaz ex rel. Diaz v. Mayor of Corpus Christi, 121 F.

App'x 36, 39 (5th Cir. 2005). Therefore, Plaintiffs cannot meet their burden of defeating Alleva’s

qualified immunity defense and their claims against him should be dismissed, with prejudice.

                  d. Plaintiffs’ Equal Protection Claims Against Alleva Are Barred by the One-
                     Year Statute of Limitations for § 1983 Claims.

         Even if Plaintiffs were able to satisfy the pleading requirements and show qualified

immunity is inapplicable their claims against Alleva are barred by the one-year limitations period



59
   See Rec. Doc. 22-1, at pp. 195-198 (Email from Joe Alleva to all Athletics Staff dated June 8, 2016); Rec. Doc. 22-
1, at pp. 199-200 (Joe Alleva Memo to All Athletics Employees dated February 14, 2018). Exhibits to the Amended
Complaint can be considered by the Court when ruling on Alleva’s Motion to Dismiss. Kennedy v. Chase Manhattan
Bank USA, NA, 369 F.3d 833, 839 (5th Cir. 2004). To the extent there are conflicts between the Amended Complaint
and the exhibits, the contents of the exhibit controls. Rouege Trucking, LLC v. Canales, No. CIV.A. 14-304-JJB, 2015
WL 127870, at *7 (M.D. La. Jan. 7, 2015).

                                                         18
      Case 3:21-cv-00242-WBV-SDJ                     Document 118-2           11/08/21 Page 25 of 63




for § 1983 claims because they possessed the requisite knowledge of their injuries more than one-

year before filing the instant lawsuit. Piotrowski v. City of Houston, 237 F.3d 567, 576 (5th Cir.

2001).60 According to Amended Complaint, Plaintiff allege they did not feel as if they received

fair or appropriate support or resources from LSU. Plaintiffs, Richardson, Robertson, Brennan,

Owens, Lewis, and Johnson all had sufficient knowledge of their claims when they either received

the final determination of their Title IX complaints,61 left LSU because of the alleged lack of

support they received from LSU’s administration,62 or graduated from LSU.63 Alleva no longer

served as Athletic Director at LSU after April 17, 2019, which is two years prior to Plaintiffs’

filing their Original Complaint.64 Plaintiffs Richardson, Robertson, Brennan, Owens, Lewis, and

Johnson either left LSU or graduated from LSU prior to April 26, 2020, which is the last day the

Plaintiffs’ causes of action could accrue to be timely, and all Plaintiffs make allegations that give

rise to sufficient information to start the running of the one-year limitations period for § 1983

claims prior to April 26, 2020. Therefore, Plaintiffs’ § 1983 claims against Alleva are time barred.




60
   “A plaintiff need not know that she has a legal cause of action; she need know only the facts that would ultimately
support a claim.” Piotrowski, 237 F.3d at 576.
61
   Rec. Doc. 22, at pp. 31 (¶ 133), 34 (¶¶ 145-153). Plaintiff Richardson found out that Sharon Lewis would not
receive any discipline or sanction from LSU regarding her handling of complaints against John Doe and John Coe on
or around November 18, 2018. Rec. Doc. 22, at p. 64, ¶ 278. Plaintiff Lewis’ father sent a letter to the Southeastern
Conference on October 18, 2018 informing them that LSU had failed to take appropriate action regarding Plaintiff
Lewis’ complaints of sexual misconduct.
62
   Rec. Doc. 22, at p. 40, ¶ 174. Plaintiff Robertson withdrew from LSU in September 2017 because of alleged issues
caused by sexual misconduct of another student and for the alleged failure of LSU to provide appropriate support and
resources. Rec. Doc. 22, at p. 43, ¶¶ 184-185. Plaintiff Brennan left LSU in the fall of 2016 because the alleged lack
of support from Athletic Department. Rec. Doc. 22, at p. 46, ¶ 200. Plaintiff Owens left LSU in March 2017 because
of the allege lack of support, resources, accommodations, or interim measures by LSU to ensure she could finish her
degree.
63
   Rec. Doc. 22, at p. 69, ¶ 299. Plaintiff Johnson graduated from LSU in the spring of 2019. Plaintiff Johnson alleges
verbal abuse by the LSU tennis coaches and does not allege anything that would toll the limitations period for failure
of the requisite knowledge of her claim.
64
   Rec. Doc. 1.

                                                         19
      Case 3:21-cv-00242-WBV-SDJ                    Document 118-2           11/08/21 Page 26 of 63




             3. Plaintiffs Fail To Allege Specific Allegations Against Alleva for their § 1983
                Procedural Due Process Claims, their Claims against Alleva in his Official
                Capacity are Barred by Sovereign Immunity, Qualified Immunity Applies to
                their Claims against Alleva in His Individual Capacity, and the § 1983 Claims
                Are Barred by the Applicable Limitations Period.

                 a. Plaintiffs Fail to State a Claim for Denial of Procedural Due Process
                    Against Alleva.

        Plaintiffs’ § 1983 claims for denial of procedural due process against Alleva are inadequate

to state a cognizable action. Plaintiffs’ claim for denial of due process arise from the alleged

deprivation of their liberty and property interest in educational opportunities and benefits.65

Specifically, Plaintiffs allege the Defendants denied them procedural due process by creating a

practice/custom of deliberate indifference and cultivating a culture of silence by failing to report

complaints of sexual discrimination, failing to initiate or conduct adequate investigations and

grievance procedures under Title IX, and failing to ensure Plaintiffs had equal access to

educational opportunities, benefits, or grievance procedures.66 Plaintiffs further allege Defendants

failed to provide Plaintiffs with adequate notice of what actions were to be taken regarding their

complaints of sexual misconduct.67 However, Plaintiffs do not allege how Alleva specifically

denied them procedural due process.

        The Fourteenth Amendment to the United States Constitution provides that no person shall

be deprived “of life, liberty, or property, without due process of law.” U.S. Const. Amen. XIV, §



65
   Rec. Doc. 22, at pp. 109-110, ¶ 446.
66
   Rec. Doc. 22, at p. 109, ¶ 444. Plaintiffs’ claims allege LSU and its employees failed to properly investigate and
respond to reports of alleged sexual misconduct between LSU students. Rec. Doc. 22, at p. 3, ¶ 8 (“LSU’s failure to
appropriately respond to and investigate Plaintiffs’ claims, as well as the sex discrimination and other harms
perpetrated by LSU against Plaintiffs, caused them severe harm, denied them due process, denied them equal
protection under the law, denied them freedom of speech, and denied them the ability to participate fully in their
education as LSU students.”). These allegations, at best, attempt to allege negligence on behalf of LSU and its
employees which cannot form the basis of a constitutional violation.
67
   Rec. Doc. 22, at p. 109, ¶ 445.

                                                        20
      Case 3:21-cv-00242-WBV-SDJ                     Document 118-2           11/08/21 Page 27 of 63




1. The U.S. Supreme Court has adopted a two-step analysis to determine whether a plaintiff’s due

process rights have been violated. Kentucky Dep't of Corr. v. Thompson, 490 U.S. 454, 460 (1989).

The first step is to examine whether there is a recognized liberty or property interest that has been

interfered with by a governmental entity. Id. The second step examines whether the government’s

procedures were constitutionally sufficient with respect to the liberty or property interest allegedly

interfered with by the governments. Id.

         To appropriately state a claim for violation of procedural due process, Plaintiffs must allege

they were deprived of a recognized liberty or property interest. Smith v. Davis, 507 Fed. Appx.

359, 362 (5th Cir. 2013) (citing Bd. of Curators of the Univ. of Mo. v. Horowitz, 435 U.S. 78, 82,

98 S.Ct. 948, 55 L. Ed.2d 124 (1978)). State law determines what constitutes a property interest

for purposes of procedural due process. Bishop v. Wood, 426 U.S. 341, 344, 96 S. Ct. 2074, 2077,

48 L. Ed. 2d 684 (1976). The liberty or property interest allegedly violated must be more than “an

abstract need or desire” or a “unilateral hope”. Kentucky Dep't of Corr., 490 U.S. at 460. The

deprivation of the property right by the government or government official must be intentional;

mere negligence does not rise to the level of a violation of procedural due process. Brown v.

Douglas, No. CV 21-104-P, 2021 WL 2933111, at *2 (W.D. La. June 1, 2021), report and

recommendation adopted, No. CV 21-104-P, 2021 WL 2930975 (W.D. La. July 12, 2021).68

         While Plaintiffs are not entirely clear as to what liberty or property interest they have

allegedly been deprived of by Defendants, the allege a loss of access to “educational opportunities

Amended Complaint.”69 “The [Supreme] Court has not held college academic decisions implicate



68
   Even intentional deprivations cannot give rise to a procedural due process claim when there are adequate state post-
deprivation remedies. Brown, 2021 WL 2933111 at *2.
69
   Rec. Doc. 22, at pp. 109-110, ¶ 446.

                                                         21
      Case 3:21-cv-00242-WBV-SDJ                      Document 118-2            11/08/21 Page 28 of 63




property or liberty interests, entitling a student to constitutional due-process protections.” Smith,

507 Fed. Appx. at 362. This line of reasoning has extended to athletic scholarships as well. Holden

v. Perkins, 398 F.Supp.3d 16-23 (E.D. La. 2019). Therefore, Plaintiffs § 1983 claims for denial

of procedural due process fail at the pleading stage because Plaintiffs have failed to allege they

were deprived of a recognized property interest.

         Plaintiffs also attempt to allege they were deprived of procedural due process when

Plaintiffs were not given notice of the status of their complaints regarding sexual misconduct.70

However, Plaintiffs do not have a property interest in the status of an investigation, especially

when they are not the persons under investigation or subject to punishment. Davis v. Dallas Indep.

Sch. Dist., 448 F. App'x 485, 495 (5th Cir. 2011); Bookenberger v. Terrebonne Par., No. CV 18-

6373, 2019 WL 3858949, at *7 (E.D. La. Aug. 16, 2019).71

         In sum, neither the alleged lost educational opportunities and benefits nor the purported

failure to keep them apprised of investigations into other LSU students cannot serve as an actional

basis for Plaintiffs’ procedural due process claims. Furthermore, Plaintiffs’ § 1983 claims for

denial of procedural due process as to Alleva fail the pleading requirements since they do not make

specific allegations regarding the conduct of Alleva that denied them a property right without due




70
  Rec. Doc. 22, at p. 109, ¶ 445.
71
  In Davis, the U.S. Fifth Circuit found that the plaintiff did not have a property interest in a certain investigation or
investigative procedures. 448 Fed. Appx. at 495. In Bookenberger, the court rejected the notion that the plaintiff had
a property interest in an investigation against the plaintiff after defendants failed to disclose the nature of the
investigation and denying requests for documents regarding the investigation. 2019 3858949 at *7. Since the decisions
in Davis and Bookenberger rejected the notion the respective plaintiffs had a property interest in investigations into
their own conduct, Plaintiffs do not have a property interest in the investigations of other individuals.

                                                           22
      Case 3:21-cv-00242-WBV-SDJ                   Document 118-2           11/08/21 Page 29 of 63




process.72 Accordingly, Plaintiffs’ § 1983 claims for denial of procedural due process against

Alleva should be dismissed.

                 b. Plaintiffs’ Claims Against Alleva in his Official Capacity are Barred
                    Because Government Officials Are Not Recognized As “Persons” For
                    Purposes of § 1983 Claims and By Sovereign Immunity.

        For the same reasons discussed above in Section IV(B)(1)(b),73 Plaintiffs’ claims against

Alleva in his official capacity should be dismissed because he does not meet the definition of a

“person” in § 1983.74 As a result, Alleva is shielded from liability by the doctrine of sovereign

immunity.75 Therefore, Plaintiffs’ § 1983 claims against Alleva, in his official capacity, should be

dismissed, with prejudice.

                 c. Qualified Immunity Shields Alleva, in his Individual Capacity, From Civil
                    Liability for Plaintiffs’ § 1983 Claim of Violation of Denial of Procedural
                    Due Process.

        Plaintiffs assert claims against Alleva, in his individual capacity, pursuant to § 1983 for the

alleged violation of procedural due process guaranteed by the Fourteenth Amendment. Plaintiffs

base their procedural due process claims on the alleged failure to properly investigate and respond

to the sexual misconduct of other LSU students.76 While Plaintiffs fail to make any specific

allegations against Alleva, the § 1983 procedural due process claims seemingly arise from the

alleged failure to comply with Title IX regarding the reported sexual misconduct by other LSU

students and/or the alleged failure of certain university employees to provide updates on the status




72
   Plaintiff Andries alleges she was issued a mutual no-contact directive without the opportunity to be heard. Rec.
Doc., at p. 110, ¶ 447. However, Plaintiff Andries makes no allegations that Alleva or anyone in the Athletic
Department handled or were even aware of her complaint. Rec. Doc. 22, at pp. 48-56, ¶¶ 209-243.
73
   Supra at p. 9.
74
   Will, 491 U.S. at 71.
75
   Kooros, 379 Fed. Appx. at 379-80.
76
   Rec. Doc. 22, p. 109, ¶ 444.

                                                        23
      Case 3:21-cv-00242-WBV-SDJ                     Document 118-2           11/08/21 Page 30 of 63




of disciplinary proceedings to certain Plaintiffs. For the reasons outlined above in Section

IV(B)(1)(c)77 and for the reasons that follow, qualified immunity applies to Plaintiffs’ § 1983 equal

protection claims against Alleva in his individual capacity

         Plaintiffs cannot defeat Alleva’s claim of qualified immunity because they cannot show

Alleva violated an established right. As the U.S. Fifth Circuit has stated, the Supreme Court has

never held a person has a recognized property interest in college education and benefits. Smith,

507 Fed. Appx. at 362. Furthermore, Plaintiffs cannot demonstrate there is an established right to

receive notice of the actions that have or will be taken in connection with their complaints of sexual

misconduct when Plaintiffs were not the subject of the investigation or potential punishment.

Davis v. Dallas Indep. Sch. Dist., 448 F. App'x at 495; Bookenberger, 2019 WL 3858949, at *7.78

Therefore, even if Plaintiffs were able to sufficiently plead a claim against Alleva for denial of

procedural due process, Plaintiffs cannot show Alleva violated a clearly established right. Thus,

Plaintiffs’ § 1983 claims for denial of procedural due process against Alleva should be dismissed.

                  d. Plaintiffs’ Procedural Due Process Claims Against Alleva Are Barred by
                     the One-Year Statute of Limitations for § 1983 Claims.

         Even if Plaintiffs were able to satisfy the pleading requirements and to show qualified

immunity is inapplicable, Plaintiffs’ claims against Alleva are barred by the one-year limitations

period for § 1983 claims.79 Plaintiffs possessed the requisite knowledge of their injuries more than




77
   Supra at p. 10.
78
   See also Walsh v. Hodge, 975 F.3d 475, 486–87 (5th Cir. 2020), cert. denied, 141 S. Ct. 1693, 209 L. Ed. 2d 468
(2021) (finding the exact contours of university disciplinary/termination proceedings are still in flux and not clearly
established).
79
   Jones v. Orleans Par. Sch. Bd., 688 F.2d 342, 344 (5th Cir. 1982).

                                                         24
      Case 3:21-cv-00242-WBV-SDJ                     Document 118-2            11/08/21 Page 31 of 63




one-year before filing the instant lawsuit. Specifically, Plaintiffs, Richardson,80 Robertson,81

Brennan,82 Owens,83 Lewis,84 and Johnson,85 all had the prerequisite knowledge to begin the

running of the limitations period before leaving LSU. Plaintiffs, Richardson, Robertson, Brennan,

Owens, Lewis, and Johnson either left LSU or graduated from LSU prior to April 26, 2020, which

is the last day the Plaintiffs’ causes of action could accrue to be timely, and all Plaintiffs make

allegations that give rise to sufficient information to start the running of the one-year limitations

period for § 1983 claims prior to April 26, 2020. Therefore, any claims brought prior to April 26,

2020 (one year prior to when the Complaint was filed) is barred by the statute of limitations.

         C. Plaintiffs Fail to Make Specific Allegations against Alleva for their § 1985
            Conspiracy to Deprive Constitutional Rights; Sovereign Immunity Bars their §
            1985 Claims against Alleva in his Official Capacity; Qualified Immunity Applies
            to their § 1985 Claims against Alleva in His Individual Capacity; and the § 1985
            Claims are Barred by the Intracorporate Doctrine and Applicable Limitations
            Period.

             1. Plaintiffs Fail to Properly Allege a Conspiracy to Interfere with Plaintiffs
                Constitutional Rights Pursuant § 1985.86

         Plaintiffs’ § 1985 claims against Alleva fail to meet the pleading requirements. To

establish a claim for conspiracy to deprive a person of civil rights under § 1985, Plaintiffs must

prove the following: (1) a conspiracy involving two or more persons; (2) for the purpose of


80
   To the extent Plaintiff Richardson pleads a claim she was not informed of the status of her Title IX investigation
and subsequent punishment imposed on Defendant Lewis, the Title IX investigation concluded in November 2018
more than a year before the Original Complaint was filed.
81
   Plaintiff Robertson alleges she was not informed of other sexual complaints filed against John Doe. Rec. Doc., at
p. 39, ¶ 171.
82
   Plaintiff Brennan does not make any specific allegations of denial of due process in her individual allegations. Rec.
Doc. 22, at p. 41-45, ¶¶ 177-191.
83
   Owens left LSU in March 2017 because of the alleged mishandling of her complaints. Rec. Doc. 22, at p. 46, ¶ 200.
84
   Plaintiff Lewis alleges she was not informed of the status of John Coe’s mandatory counseling (Rec. Doc. 22, at p.
59, ¶ 256), and she was put on academic probation for a violation of LSU’s residential life policy in June 2018. Rec.
Doc. 22, at p. 61, ¶ 264.
85
   Plaintiff Johnson does not make any allegations pertaining to a denial of procedural due process even under the
allegations made in the general portion of the Amended Complaint.
86
   Count IX in the Amended Complaint. Rec. Doc. 22, pp. 111-112, ¶¶ 451-456.

                                                          25
      Case 3:21-cv-00242-WBV-SDJ                   Document 118-2           11/08/21 Page 32 of 63




depriving any person or class of persons of equal protections of the laws; (3) defendants acted in

furtherance of the conspiracy; and (4) caused an injury to a person or property or caused a

deprivation of any right of privilege afforded to citizens of the United States. Hilliard v. Ferguson,

30 F.3d 649, 652-653 (5th Cir. 1994). In addition, the plaintiff must show the conspiracy was

motivated by a class-based animus. Id. at 653. Plaintiffs must allege more than mere conclusory

allegations that Defendants conspired to deprive the Plaintiffs of civil rights. U. S. ex rel. Simmons

v. Zibilich, 542 F.2d 259, 262 (5th Cir. 1976).

        Plaintiffs cannot merely plead that Alleva was aware of the alleged constitutional

violations, which they have not; rather, Plaintiffs must allege Alleva selected or affirmed a

particular course of action because of the adverse effects it would have upon an identifiable and

protected group. Hagan v. Houston Indep. Sch. Dist., 51 F.3d 48, 53 (5th Cir. 1995) (Bray v.

Alexandria Women's Health Clinic, 506 U.S. 263, 272, 113 S. Ct. 753, 760–61, 122 L. Ed. 2d 34

(1993)). Plaintiffs’ Amended Complaint fails to make any allegations whatsoever against Alleva

that would support a plausible cause of action against him for Plaintiffs’ § 1985 claims.

             2. Plaintiffs’ Claims Against Alleva in his Official Capacity Are Barred Because
                Government Officials Are Not Recognized As “Persons” For Purposes of §
                1985 Claims and Are Barred By Sovereign Immunity.

        For the same reasons addressed above in Section IV(B)(1)(b),87 Plaintiffs' claims against

Alleva in his official capacity should be dismissed because Alleva does not a “person” for purposes

of § 1985;88 thus, he is shielded from liability by the doctrine of sovereign immunity.89




87
   Supra at p. 9.
88
   Will, 491 U.S. at 71. Section 1985 contains the same reference to “persons” as § 1983. Therefore, the rational of
Will regarding § 1983 claims should apply to § 1985.
89
   Early v. S. Univ. & Agr. & Mech. Coll. Bd. of Sup'rs, 252 F. App'x 698, 700 (5th Cir. 2007).

                                                        26
      Case 3:21-cv-00242-WBV-SDJ              Document 118-2         11/08/21 Page 33 of 63




              3. Qualified immunity applies to Plaintiffs’ § 1985 claims.

         Alleva is entitled to qualified immunity with respect to Plaintiffs’ § 1985 claims. Ziglar,

137 S. Ct. at 1867. Plaintiffs generally allege all Defendants conspired to deprive them of their

constitutional rights to free speech, equal protection, and due process.90 For the reasons outlined

in Sections IV(B)(1)(c),91 IV(B)(2)(c),92 and IV(B)(3)(c), above,93 discussing qualified immunity

as to each of Plaintiffs’ § 1983 claims against Alleva in his individual capacity, qualified immunity

bars Plaintiffs § 1985 claims for conspiracy to interfere with Plaintiffs’ constitutional rights of free

speech, equal protection, and due process.

              4. The Intracorporate Doctrine Bars Plaintiffs’ Claims Under § 1985.

         Plaintiffs’ claims against Alleva fail because Alleva cannot conspire with fellow employees

and officials of LSU for purposes of § 1985. Conspiracy is an essential element of a cause of

action for conspiracy to interfere with civil rights under § 1985. U. S. ex rel. Simmons v. Zibilich,

542 F.2d at 262. A single entity, whether a private corporation or public body, cannot conspire

with its employees, and its employees cannot conspire among themselves for purposes of

supporting a § 1985 claim. Hilliard v. Ferguson, 30 F.3d 649, 653 (5th Cir. 1994); Martin v. D.C.,

78 F. Supp. 3d 279, 328 (D.D.C. 2015). In Hillard, the Fifth Circuit held that a school board is a

single entity for purposes of conspiracy claims brought pursuant to § 1985, and the same rationale

applies to a university. Id.; See also, Chambliss v. Foote, 421 F. Supp. 12, 15 (E.D. La. 1976),

aff'd, 562 F.2d 1015 (5th Cir. 1977) (finding a university and its officials are a single entity that



90
   Rec. Doc. 22, at p. 111, ¶ 452.
91
   Supra at p. 10.
92
   Supra at p. 16.
93
   Supra at p. 23.


                                                  27
      Case 3:21-cv-00242-WBV-SDJ                     Document 118-2             11/08/21 Page 34 of 63




cannot conspire with one another). All of the individual Defendants were either employees or

agents of LSU, thus, could not have conspired with each other for purposes of Plaintiffs’ § 1985

claims.

             5. Plaintiffs’ § 1985 Claims are Barred by the Applicable Limitations Period.

          Plaintiffs § 1985 claims are subject to a one-year statute of limitations. Smith v. Humphrey,

540 F. App'x 348, 349 (5th Cir. 2013); Delouise v. Iberville Par. Sch. Bd., 8 F. Supp. 3d 789, 806

(M.D. La. 2014). Similar to § 1983 claims, federal law determines when § 1985 causes of action

accrue. Id. The cause of action for Plaintiffs’ § 1985 claims accrued when Plaintiffs knew or

should have known they had been injured. Id. Plaintiffs Richardson,94 Robertson,95 Brennan,96

Owens,97 Lewis,98 and Johnson99 all had the prerequisite knowledge to begin the running of the

limitations period before leaving LSU. Plaintiffs Richardson, Robertson, Brennan, Owens, Lewis,

and Johnson either left LSU or graduated from LSU prior to April 26, 2020, which is the last day

the Plaintiffs’ causes of action could accrue to be timely. All Plaintiffs make allegations that give

rise to sufficient information to start the running of the one-year limitations period for § 1985

claims prior to April 26, 2020. Therefore, Plaintiffs’ § 1985 claims for conspiracy to deprive




94
   Rec. Doc. 22, at pp. 31 (¶ 133), 34 (¶¶ 145-153).
95
   Rec. Doc. 22, at p. 40, ¶ 174. Plaintiff Robertson withdrew from LSU in September 2017 because of alleged issues
caused by sexual misconduct of another student and for the alleged failure of LSU to provide appropriate support and
resources.
96
   Rec. Doc. 22, at p. 43, ¶¶ 184-185. Plaintiff Brennan left LSU in the fall of 2016 because the alleged lack of support
from Athletic Department.
97
   Rec. Doc. 22, at p. 46, ¶ 200. Plaintiff Owens left LSU in March 2017 because of the allege lack of support,
resources, accommodations, or interim measures by LSU to ensure she could finish her degree.
98
   Rec. Doc. 22, at p. 64, ¶ 278. Plaintiff Lewis’ father sent a letter to the Southeastern Conference on October 18,
2018 informing them that LSU had failed to take appropriate action regarding Plaintiff Lewis’ complaints of sexual
misconduct.
99
   Rec. Doc. 22, at p. 69, ¶ 299. Plaintiff Johnson graduated from LSU in the spring of 2019. Plaintiff Johnson’s
alleges verbal abuse by the LSU tennis coaches and does not allege anything that would toll the limitations period for
failure of the requisite knowledge of her claim.

                                                          28
      Case 3:21-cv-00242-WBV-SDJ                  Document 118-2          11/08/21 Page 35 of 63




Plaintiffs of their constitutional rights of free speech, equal protection, and due process should be

dismissed.

        D. Plaintiffs’ § 1986 Claims for Neglect to Prevent a Deprivation of Constitutional
           Rights100 Against Alleva Fail To Allege Specific Allegations Against Alleva and
           are Barred Because Alleva Enjoys The Benefit Of Sovereign Immunity For § 1986
           Claims in his Official Capacity, Qualified Applies Immunity For § 1986 Claims in
           his Individual Capacity, the Plaintiffs’ § 1986 Claims are barred by the
           Intracorporate Doctrine, the Plaintiffs’ § 1986 Claims are Barred Because There
           is no Underlying Valid § 1985 Claim, and the § 1986 Claims Are Barred by the
           Applicable Limitations Period.

             1. Plaintiffs’ Claims Against Alleva in his Official Capacity are Barred by
                Sovereign Immunity.

        Plaintiffs’ § 1986 claims against Alleva in his official capacity are barred by sovereign

immunity pursuant to the Eleventh Amendment. Early v. S. Univ. & Agr. & Mech. Coll. Bd. of

Sup'rs, 252 F. App'x 698, 700 (5th Cir. 2007). In Early the United States Fifth Circuit Court of

Appeals, on a matter of first impression, found that sovereign immunity applies to § 1986 claims

against university officials in their official capacity. Id. Accordingly, Plaintiffs’ § 1986 claims

against Alleva in his official capacity should be dismissed with prejudice.

             2. Qualified immunity applies to Plaintiffs’ § 1986 claims Against Alleva in his
                Individual Capacity.

        Alleva is entitled to qualified immunity applies for Plaintiffs’ § 1986 claims. Early, 252

Fed. Appx. at 700-701. For the reasons outlined above in Sections IV(B)(1)(c),101 IV(B)(2)(c),102

and IV(B)(3)(c)103 discussing qualified immunity as to each of Plaintiffs’ § 1983 claims and §

1985 claims against Alleva in his individual capacity, qualified immunity bars Plaintiffs § 1986



100
    Count IX in the Amended Complaint. Rec. Doc. 22, at pp. 111-112, ¶¶ 451-456.
101
    Supra at p. 10.
102
    Supra at p. 16.
103
    Supra at p. 23.

                                                      29
      Case 3:21-cv-00242-WBV-SDJ                     Document 118-2             11/08/21 Page 36 of 63




claims for negligent prevention of interference with Plaintiffs’ constitutional rights of free speech,

equal protection, and due process.

             3. There is no Valid § 1985 Claim Against Alleva, Thus, Preventing Plaintiffs’ §
                1986 Claim.

         A violation of § 1986 is wholly dependent on finding a violation of § 1985. Ard v. Rushing,

597 Fed. Appx. 213, 221 (5th Cir. 2014). For the same reasons addressed in Sections IV(C)(1)-

(5) above104 regarding Plaintiffs’ § 1985 claims, their § 1986 Claims against Alleva in his

individual capacity should be dismissed.

             4. The Intracorporate Doctrine Bars Plaintiffs’ Claims Under § 1986.

         The same prohibition on intracorporate conspiracies bars claims brought under § 1986 just

as it bars claims brought under § 1985. Martin, 78 F. Supp. 3d at 328. For the reasons briefed

above in Section IV(C)(4),105 Plaintiffs’ § 1986 claims should be dismissed as Plaintiffs cannot

allege a conspiracy among officials and employees of LSU.

             5. Plaintiffs’ § 1986 Claims are Barred by the Applicable Limitations Period.

         Plaintiffs’ § 1986 claims are limited by the statute’s express one year limitations period.

42 U.S.C. § 1986;106 Williams v. Post, 751 Fed. Appx. 572 (5th Cir. 2019) (per curiam). The

limitations period of § 1986 is not subject to tolling, and thus, is akin to a statute of repose. Bieros

v. Nicola, 839 F. Supp. 332, 337 (E.D. Pa. 1993).107 Since Plaintiffs’ § 1986 claims are not subject


104
    Supra at pp. 25-29.
105
    Supra at p. 26.
106
    § 1986 provides, “[b]ut no action under the provision of this section shall be sustained which is not commenced
within one year after the cause of action has accrued.” (emphasis added).
107
    While the United States Supreme Court has not directly answered the question of whether the limitations period in
§ 1986 is subject to tolling, the majority of district courts who have encountered this issue has found it is not subject
to tolling. Acosta-Felton v. Greinke, No. 11-3103-RDR, 2013 WL 615469, at *4 (D. Kan. Feb. 19, 2013); Johns v.
Home Depot U.S.A., Inc., 221 F.R.D. 400, 407 (S.D.N.Y. 2004); Lively v. Ballard, No. 2:13-CV-28759, 2015 WL
5139120, at *5 (S.D.W. Va. Aug. 4, 2015), report and recommendation adopted, No. CV 2:13-28759, 2015 WL


                                                          30
      Case 3:21-cv-00242-WBV-SDJ                   Document 118-2           11/08/21 Page 37 of 63




to tolling, the limitations period would begin to run when Plaintiffs knew or had reason to know

of the basis of their injuries. For the reasons previously addressed herein, Plaintiffs had the

requisite knowledge to begin the running of the limitations period on or before the time they left

LSU,108 which was well before April 26, 2020 (one year prior to filing the Original Complaint).

Therefore, Plaintiffs’ § 1986 claims against Alleva should be dismissed.

                        V. LOUISIANA RACKETEERING ACT CLAIMS.

        A. Plaintiffs Fail to Plead A Plausible Claim Under the Louisiana Racketeering Act.

        Plaintiffs have dismissed their federal RICO claims against all Defendants.109 However,

Plaintiffs still allege claims under the Louisiana Racketeering Act, La. R.S. 15:1351, et seq. On

September 27, 2021, the Court issued its Louisiana Racketeering Act Order (“LRA Order”)

requiring the Plaintiffs to file a Case Statement similar to the RICO Order issued by the Court for

Plaintiffs’ federal RICO claims .110 Plaintiffs’ Case Statement, like their Amended Complaint, is

very general and fails to make specific allegations against Alleva in light of the serious nature of

the claims Plaintiffs assert against Alleva, i.e., that he has engaged in in criminal activity (predicate

acts).111

        A civil RICO/racketeering lawsuit is quasi-criminal in nature and should not be brought

against the Defendants without a sufficient basis, both legal and factual, because such claims

inevitably stigmatize the Defendants. Figueroa Ruiz v. Alegria, 896 F.2d 645, 650 (1st Cir. 1990).


5139155 (S.D.W. Va. Aug. 31, 2015); Dixon v. Elmore, No. CIV.A. 12-1180, 2012 WL 5830629, at *4 (W.D. Pa.
Oct. 25, 2012), report and recommendation adopted, No. 2:12-CV-1180, 2012 WL 5830615 (W.D. Pa. Nov. 16,
2012).
108
    Supra at nn. 95-99.
109
    Rec. Doc. 67.
110
    Rec. Doc. 93.
111
    Plaintiffs’ Racketeering Case Statement is subject to the pleading requirements under the Federal Rules of Civil
Procedure including the heightened pleading requirements for allegations pertaining to fraudulent conduct. Wang v.
Ochsner Med. Ctr.-Kenner, L.L.C., No. CV 17-5134, 2017 WL 6055167, at *12 (E.D. La. Dec. 7, 2017).

                                                        31
      Case 3:21-cv-00242-WBV-SDJ                     Document 118-2             11/08/21 Page 38 of 63




Therefore, to protect innocent parties, courts should dismiss frivolous RICO claims at the earliest

possible stage of litigation. Id. Plaintiffs’ generalized accusations against Alleva run afoul of the

Court’s LRA Order and federal pleading requirements; thus, they should be dismissed.112

         The LRA is modeled after the federal RICO statutes, and thus, federal cases are persuasive

authority for interpreting the Louisiana’s RICO statutes. State v. Nine Sav. Accts., 553 So.2d 823,

825 (La. 1989); CamSoft Data Sys., Inc. v. S. Elecs. Supply, Inc., 2019-0745, p. 4 (La. App. 1 Cir.

7/2/19); 2019 WL 2865256 at *3 writ denied, 2019-01228 (La. 11/19/19); 282 So.3d 1069. Since

the reported Louisiana cases interpreting the LRA are sparse, federal RICO caselaw should inform

the court’s interpretation and application of the LRA. Zilbert v. Sasol N. Am., Inc., No. 2:11 CV

00862, 2012 WL 1950144, at *2 (W.D. La. May 29, 2012); Camsoft Data Sys., 2019 WL 2865256

at *3. The LRA provides a cause of action for individuals harmed by four (4) prohibited activities

in La. R.S. 15:1353:

         (1)    receiving any proceeds derived from a pattern of racketeering activity and
                investing those proceeds to acquire interest in any immovable property,
                establishment, or operation of an enterprise.
         (2)    knowingly acquire or maintain any interest in or control of an enterprise or
                immovable property through a pattern of racketeering activity;
         (3)    knowingly conduct or participate in an enterprise through a pattern of
                racketeering activity; and
         (4)    conspiring or attempting to violate the provisions of Subsections A, B, or C.113




112
    Plaintiffs have offered no explanation as to the reason they have readily asserted novel and frivolous claims against
Alleva and the other Defendants in the public record while keeping the names of the persons who allegedly committed
the acts of sexual misconduct anonymous.
113
    La. R.S. 15:1553(A) – (D).

                                                          32
      Case 3:21-cv-00242-WBV-SDJ                      Document 118-2             11/08/21 Page 39 of 63




         Plaintiffs have alleged all Defendants, including Alleva, have violated all four (4)

provisions of La. R.S. 15:1353.114 For the reasons addressed below, all of Plaintiffs’ racketeering

claims against Alleva fail.115

         To establish their LRA claims against Alleva, Plaintiffs must show that he is (1) a person

who engages in (2) a pattern of racketeering activity and is (3) connected to the acquisition,

establishment, conduct, or control of an enterprise. CamSoft Data Sys., 2019 WL 2865256 at *4.

“Enterprise” means any individual, sole proprietorship, partnership, corporation or other legal

entity, or any association, or group of individuals associated in fact. La. R.S. 15:1352(B).

“Racketeering activity” is statutorily defined as committing, attempting, conspiring to commit an

enumerated crime or soliciting, coercing or intimidating another person to commit crimes

specifically enumerated in La. R.S. 15:1352.                     “Pattern of Racketeering Activity” means

committing, attempting to commit, conspiring to commit two or more of the enumerated predicate

acts contained in La. R.S. 15:1352, or soliciting, coercing, or intimidating another person to

commit the predicate acts.

         Plaintiffs cannot rely on conclusory allegations that Alleva violated the LRA; rather, they

but must make specific allegations that he engaged in the prohibited criminal activity expressly

enumerated in La. R.S. 15:1352. Alack v. Jaybar, LLC, No. CV 11-143, 2012 WL 13005346, at

*6 (E.D. La. Aug. 21, 2012) (applying the Louisiana Racketeering Act). Furthermore, Plaintiffs

must plead Alleva engaged in the specific criminal conduct (predicate acts) set forth in §1352 and

cannot lump him together with the other Defendants in their allegations. Walker v. Beaumont



114
   Rec. Doc. 22 at p. 137, ¶ 563.
115
   Plaintiffs’ claim for conspiracy to commit racketeering activity pursuant to La. R.S. 15:1353(D) fails if the Plaintiffs
cannot state a substantive violation under La. R.S. 15:1353(A)-(C). Wang, 2017 WL 6055167, at *15.

                                                           33
     Case 3:21-cv-00242-WBV-SDJ              Document 118-2        11/08/21 Page 40 of 63




Indep. Sch. Dist., 1:15-CV-379, 2017 WL 928459, at *7 (E.D. Tex. Mar. 6, 2017), report and

recommendation adopted, 1:15-CV-379, 2017 WL 1166779 (E.D. Tex. Mar. 28, 2017), aff'd, 938

F.3d 724 (5th Cir. 2019).

       As discussed more fully below, Plaintiffs fail to allege with any specificity how Alleva

participated in, controlled, or derived proceeds or benefits from a pattern of racketeering activity;

how he invested those proceeds/benefits in an enterprise; or conspired to engage in a pattern of

racketeering activity.

       B. Sovereign Immunity Applies to Plaintiffs’ State Law Racketeering Claims Against
          Alleva in His Official Capacity.

       Sovereign immunity bars Plaintiffs’ racketeering claims brought against Alleva in his

official capacity because there is not an express waiver of sovereign immunity in the LRA. Will,

491 U.S. at 71; Treece v. State, No. CIV. A. 99-1567, 2000 WL 1480356, at *4 (E.D. La. Oct. 4,

2000); Gaines v. Texas Tech Univ., 965 F. Supp. 886, 889 (N.D. Tex. 1997). Therefore, Plaintiffs’

racketeering claims brought against Alleva in his official capacity should be dismissed.

       C. Qualified Immunity Applies to Plaintiffs’ State Law RICO Claims.

       Qualified immunity applies to LRA claims brought against Alleva in his individual

capacity. Brown v. Nationsbank Corp., 188 F.3d 579, 588 (5th Cir. 1999). In the racketeering

context, the court should evaluate qualified immunity as to each predicate act under the two-part

qualified immunity analysis to determine if there was a clearly established constitutional or

statutory right violated and whether Alleva’s conduct was “objectively reasonable.” Id. Plaintiffs




                                                 34
      Case 3:21-cv-00242-WBV-SDJ                      Document 118-2            11/08/21 Page 41 of 63




have the burden of proving qualified immunity does not apply to Alleva’s alleged criminal conduct

with respect to each predicate act. Id.116

         Plaintiffs have not and cannot overcome their burden of proof due to the sparse and

generalized allegations against Alleva contained in the Amended Complaint and the Case

Statement. None of the alleged predicate acts by Alleva constitute a violation of a clearly

established constitutional or statutory right and none of their allegations establish that he acted

unreasonably. Furthermore, Plaintiffs must show that Alleva possessed the requisite criminal

intent for each predicate act, which they have not done. See Foster v. Fisher, 53-205, p. 16 (La.

App. 2 Cir. 2/5/20); 290 So.3d 1215, 1226, reh'g denied (Feb. 27, 2020), writ denied, 2020-00481

(La. 6/22/20); 297 So.3d 761. Thus, Plaintiffs’ LRA claims fail at the pleading stage.

         D. Plaintiffs Lack Standing to Assert LRA Claims Against Alleva.

              1. Plaintiffs Do Not have Standing to Assert LRA Claims Because Their Alleged
                 Damages Were Not Proximately Caused by the Predicate Acts.

         Plaintiffs do not have standing to sue under the LRA because Plaintiffs’ alleged injuries

were not proximately caused by the alleged predicate acts committed by Alleva or any of the other

Defendants. Price v. Pinnacle Brands, Inc., 138 F.3d 602, 606 (5th Cir. 1998).117 Plaintiffs’

purported injuries could not have been caused by any of the alleged predicate act because any such

injuries were caused by intentional acts perpetrated by third persons who are not parties to the

instant litigation; thus, Plaintiffs cannot state a claim under the LRA.118 Plaintiffs fail to offer



116
    Plaintiffs allege Alleva committed the predicate acts of public intimidation and retaliation, intimidating or injuring
an impending witness, injuring public records, filing, or maintaining false records, money laundering, and corrupt
influencing. Rec. Doc. 103, at pp. 42-57.
117
    RICO standing is not usually treated as a jurisdictional issue but as a pleading requirement to maintain a LRA
claim. Zilbert, 2012 WL 1950144, at *3.
118
    Rec. Doc. 103, at pp. 32-33, containing allegations of sexual misconduct against John Moe and John Doe.

                                                           35
      Case 3:21-cv-00242-WBV-SDJ                    Document 118-2            11/08/21 Page 42 of 63




anything other than conclusory allegations regarding how the alleged predicate acts of public

intimidation and retaliation, intimidating or injuring an impending witness, injuring public records,

filing or maintaining false records, money laundering, and corrupt influencing are the proximate

cause for Plaintiffs’ alleged injuries.119

         For a plaintiff to have standing for a LRA claim, he/she must satisfy both the injury and

causation elements. Price, 138 F.3d at 606.120 A RICO plaintiff must plausibly allege the RICO

violation proximately caused the plaintiff’s injuries. Molina-Aranda v. Black Magic Enterprises,

L.L.C., No. 19-50638, 2020 WL 7486307, at *3 (5th Cir. Dec. 21, 2020). “The proximate

causation standard in this context is not one of foreseeability; instead, the plaintiff must

demonstrate that the alleged violation “led directly” to the injuries.” Id. When courts evaluate

whether the defendant’s alleged conduct was the proximate cause of a plaintiff’s injuries, the focus

turns to the directness of the relationship between the conduct and the harm. Hemi Grp., LLC v.

City of New York, N.Y., 559 U.S. 1, 12 (2010). Therefore, if any conduct not alleged against the

defendant directly caused the harm, the plaintiff cannot sustain a RICO/racketeering claim. Id.;

Molina-Aranda, 2020 WL 7486307, at *3.

         A causal link that is too remote, purely contingent, or indirect is insufficient to constitute a

RICO injury. Hemi Grp., 559 U.S. at 9. Allegations of a causal connection between the alleged

RICO violations and a plaintiffs’ injuries that are too attenuated fail to state a claim under RICO


119
    Rec. Doc. 22, at p. 139, ¶ 568. Plaintiffs attempt to add an additional predicate act in their RICO Case Statement
of corrupt influencing in violation of La. R.S. 14:120. Alleva objects to any attempt to expand the allegations of the
Amended Complaint without seeking leave of Court to file a second amended complaint.
120
    Courts use a stricter analysis when assessing whether a plaintiff has standing to sue under RICO to guard courts
from an overflow of complex RICO cases with speculative or attenuated damages. Anza v. Ideal Steel Supply Corp.,
547 U.S. 451, 460, 126 S. Ct. 1991, 1998, 164 L. Ed. 2d 720 (2006). Another motivating factor in applying a stricter
analysis of what types of injuries are compensable under RICO/racketeering claims is the difficulty in courts
ascertaining the damages caused by a remote or indirect action. Anza, 547 U.S. at 458; Treadway v. Lisotta, No. CIV.
A. 08-1375, 2008 WL 3850462, at *5 (E.D. La. Aug. 15, 2008).

                                                         36
      Case 3:21-cv-00242-WBV-SDJ                 Document 118-2           11/08/21 Page 43 of 63




and the LRA. Id. at 10; In re Oil Spill by Oil Rig Deepwater Horizon in Gulf of Mexico, on Apr.

20, 2010, 802 F. Supp. 2d 725, 728 (E.D. La. 2011). Likewise, damage to a plaintiff’s speculative

subjective expectations cannot form the basis of a RICO/racketeering claim. Gil Ramirez Grp.,

L.L.C. v. Houston Indep. Sch. Dist., 786 F.3d 400, 409–10 (5th Cir. 2015); Price, 138 F.3d at 607;

In re Taxable Mun. Bond Sec. Litig., 51 F.3d 518, 523 (5th Cir. 1995).121 Therefore, a claim that

must rely on a “domino effect” of causation fails to state a RICO/racketeering claim. In re Oil

Spill by Oil Rig Deepwater Horizon in Gulf of Mexico, on Apr. 20, 2010, 802 F. Supp. 2d at 729.

        The U.S Supreme Court’s decision in Hemi Group is instructive and should be followed

when analyzing whether Plaintiffs’ alleged injuries were proximately caused by the predicate acts

they allege were committed by Defendants. In Hemi Group, the City of New York (“City”) sued

a cigarette distributer, alleging federal RICO claims predicated on mail and wire fraud. Id. at 4.

The City alleged the defendant failed to file reports with the State of New York regarding out-of-

state vendors to submit customer information to states where the vendors ship cigarettes, as

required by federal law. Id. The City alleged the failure to file the reports with the State of New

York led to tens of millions of dollars in unrecovered taxes from persons who purchased or

possessed cigarettes within the City. Id. In holding that the City failed to state a claim under

RICO, the Court found the City’s alleged injuries were too attenuated, speculative, and remote to

state a claim under RICO. Specifically, the court held the direct cause of the City’s injuries was

the failure by the persons who purchased or possessed cigarettes within the City to pay taxes not

the failure of the defendant to file its required report with the State of New York, even though

proper reporting would have made it easier to identify those who had failed to pay taxes on the


121
   Injury to an intangible property interest, even if very valuable, is not the sort of injury RICO was meant to
compensate. In re Taxable Mun. Bond Sec. Litig., 51 F.3d at 523.

                                                      37
      Case 3:21-cv-00242-WBV-SDJ                     Document 118-2             11/08/21 Page 44 of 63




cigarettes. Id. at 11. Of particular significance to the instant case, the Court found the City’s

theory of liability relied on a separate action carried out by separate parties who were not the

defendant or alleged to be a part of the RICO enterprise. Id.

         Applying the holding and reasoning of Hemi Group to this case, Plaintiffs’ theory of

liability against Alleva is too attenuated from the predicate acts to give rise to a cognizable claim

under the LRA. Plaintiffs’ allegations against Alleva seek to piece together a chain of speculative

assumptions which cannot confer standing under the LRA. Plaintiffs’ theory of causation relies

on the premise that the Defendants’ failure to properly report and discipline the fellow LSU

students who engaged in the alleged sexual misconduct led to a wide variety of physical and

emotional damages.122 However, Plaintiffs’ argument ignores the misconduct of third parties

caused Plaintiffs’ injuries. Since Plaintiffs’ injuries and damages were not caused by the alleged

predicate acts, they are not recoverable under the LRA and should be dismissed. Cullom v.

Hibernia Nat. Bank, 859 F.2d 1211, 1216 (5th Cir. 1988).123

             2. Damages For Personal Injuries or Expenses Related to Personal Injuries are
                not Recoverable under the Racketeering Act.

         As discussed above, Plaintiffs’ alleged injuries and damages are related to, or arise from,

personal injuries caused by the conduct of third-parties; thus, Plaintiffs do not have standing to

assert claims under the LRA against Alleva. Vickers v. Weeks Marine, Inc., 414 F. App'x 656, 657




122
    Rec. Doc. 22, at pp. 142-143, ¶ 589(a)-(n). The injuries suffered by specific Plaintiffs all arise from an underlying
personal injury. Rec. Doc. 22 at, Richardson, pp. 36-37, ¶ 155; Robertson, p. 41, ¶ 176; Brennan, pp. 44-45, ¶¶ 191-
192; Owens, p. 48, ¶ 208; Lewis, p. 65, ¶ 282; and Johnson, pp. 69-70, ¶¶ 301. See also Rec. Doc. 103, at pp. 36-40.
123
    In Cullom, the U. S. Fifth Circuit expressly held a plaintiff lacked standing under RICO for damages related to the
plaintiff’s loss of employment because he did participate in the alleged RICO scheme. 859 F.2d at 1216. The loss of
an athletic scholarship and the opportunities and benefits that are derivative from that scholarship is not recoverable
under RICO. Bowen v. Adidas Am., Inc., No. CV 3:18-3118-JFA, 2021 WL 2141724, at *4 (D.S.C. May 26, 2021).

                                                          38
      Case 3:21-cv-00242-WBV-SDJ                      Document 118-2            11/08/21 Page 45 of 63




(5th Cir. 2011) (per curiam).124 Damages for or arising out of personal injuries are not recoverable

under the LRA. Hughes v. Tobacco Inst., Inc., 278 F.3d 417, 422 (5th Cir. 2001); Zilbert, 2012

WL 1950144 at *2 (interpreting the LRA).125 Likewise, pecuniary damages that closely relate to

or arise out of personal injuries are not recoverable for RICO/racketeering claims. Vickers, 414 F.

App'x 656.126 Damages the courts have found to be closely associated with personal injuries and

not recoverable under RICO include expenses incurred to combat drug, alcohol, and gambling

addictions related to sexual assault,127 psychological counseling/therapy,128 loss of future earning

capacity,129 medical expenses,130 and lost opportunities.131 Furthermore, Plaintiffs’ damages are

not concrete financial losses, and thus, not recoverable under the LRA as they would be speculative




124
    The district court opinion in Vickers which provides more detail regarding the prohibition against bringing RICO
claims relating to personal injuries is found at Vickers v. Weeks Marine, Inc., No. CV 09-6230, 2010 WL 11570439,
at *2 (E.D. La. Apr. 7, 2010).
125
    “[E]ven if the Court undertook some philosophical approach” and construed the lost opportunity to bring a personal
injury lawsuit as a property right, “the Court nevertheless would be unable to adopt such an interpretation because it
would contravene Congress' intent in enacting the RICO statute.” Bradley v. Phillips Petroleum Co., 527 F. Supp. 2d
625, 647 (S.D. Tex. 2007), aff'd sub nom., Bradley v. Phillips Chem. Co., 337 F. App'x 397 (5th Cir. 2009); See also,
Capdeboscq v. Francis, No. CIV.A. 03-0556, 2003 WL 21418499, at *2 (E.D. La. June 16, 2003) (damages for
humiliation and embarrassment not recoverable under RICO); Robinson v. Castle, No. CIV.A. H-11-649, 2011 WL
3813292, at *6 (S.D. Tex. Aug. 29, 2011) (damages for mental anguish and loss of consortium not recoverable);
Gaines v. Texas Tech Univ., 965 F. Supp. 886, 890 (N.D. Tex. 1997) (loss of future earning potential and educational
opportunities not recoverable).
126
    In re Vioxx Prod. Liab. Litig., No. MDL 1657, 2007 WL 3104220, at *1 (E.D. La. Oct. 23, 2007) (physical,
emotional, and economic damages related to injuries arising from ingestion of a prescription drug were not recoverable
under RICO).
127
    Zimmerman v. Poly Prep Country Day Sch., 888 F. Supp. 2d 317, 329–30 (E.D.N.Y. 2012) (plaintiffs brought
RICO claims against school officials who allegedly covered up or failed to properly investigate claims of sexual
assault to students by the football coach).
128
    Id.
129
    Gaines, 965 F. Supp. at 890.
130
    Borskey v. Medtronics, Inc., No. CIV. A. 94-2302, 1995 WL 120098, at *3 (E.D. La. Mar. 15, 1995), aff'd in part,
105 F.3d 651 (5th Cir. 1996)
131
    Gaines, 965 F. Supp. at 890 (finding the plaintiff’s damages for his alleged knee injury, lost opportunity to play in
the NFL, and lost educational opportunity). As a general rule, damages for lost opportunity, regardless of whether the
lost opportunity arises from personal injuries or injuries to business or property, as lost opportunity is too speculative
to confer a plaintiff standing to assert a RICO claim. In re Taxable Mun. Bond Sec. Litig., 51 F.3d at 523; Zilbert,
2012 WL 1950144, at *3.

                                                           39
      Case 3:21-cv-00242-WBV-SDJ                      Document 118-2             11/08/21 Page 46 of 63




and difficult to quantify. Scheppegrell v. Hicks, No. CV 15-5794, 2016 WL 3020884, at *4 (E.D.

La. May 26, 2016).

         As evidenced by the Amended Complaint and Case Statement, Plaintiffs’ damages arise

from physical, emotional, and economic injuries related to the incidents of sexual misconduct

perpetrated by third parties who are not parties to this lawsuit. Therefore, under clearly established

precedent, Plaintiffs’ injuries fail to confer standing to assert LRA claims against Alleva and their

claims should be dismissed.

         E. Plaintiffs Fail to Allege any Legally Cognizable Enterprise.

         An “enterprise” must be an entity separate from the pattern of activity in which it allegedly

engages. Sandifer, 249 So.3d at 156; Elliott v. Foufas, 867 F.2d 877, 881 (5th Cir. 1989).132

Allegations that an enterprise is created by the racketeering activity, itself, is not sufficient to plead

that an enterprise is separate and apart from the pattern of racketeering activity for purposes of

stating a cognizable RICO/LRA claim. Zastrow v. Houston Auto Imports Greenway Ltd., 789 F.3d

553, 562 (5th Cir. 2015).

         Plaintiffs fail to differentiate the alleged “pattern of racketeering activity” from the

purported “association-in-fact” enterprise.133 Plaintiffs allege the enterprise was created by the

racketeering activity consisting of predicate acts of public intimidation and retaliation, intimidating

or injuring an impending witness, injuring public records, filing or maintaining false records,

money laundering, or corrupt influencing.134 Plaintiffs further allege the predicate acts were


132
    The plaintiff alleging RICO violations must do more than allege a legal entity committed predicate acts through its
agent or agents during the course of its business. Elliott, 867 F.2d at 881; See also Atkinson v. Anadarko Bank & Tr.
Co., 808 F.2d 438, 441 (5th Cir. 1987) (finding a bank, its holding company, and three of the bank’s employees were
not sufficient to create an enterprise when the alleged racketeering activity involved the regular activities of the bank).
133
    Rec. Doc. 103, at p. 60, § 7.
134
    Rec. Doc. 22, at p. 139, ¶ 568.

                                                           40
         Case 3:21-cv-00242-WBV-SDJ              Document 118-2        11/08/21 Page 47 of 63




associated with “… operating a state university with a competitive athletics program and athletics

booster organization.”135 Claiming that the predicate acts were committed during the operation of

Defendants’ business does not sufficiently allege a RICO/racketeering claim as there is no

distinction between the RICO person and the enterprise. Whelan, 319 F.3d at 230. Since Plaintiffs’

have failed to distinguish the “enterprise” from the “pattern of racketeering activity,” they have

failed to satisfy the requirements to plead a claim under the LRA.

            F. Plaintiffs Cannot Show the Alleged Acts were Related or Posed a Threat of
               Continued Racketeering Activity.

            Plaintiffs cannot establish a racketeering claim against Alleva because they will not be able

to demonstrate a “pattern of racketeering activity” as required by the LRA. Meadaa v. K.A.P.

Enterprises, No. CIV.A. 09-1211, 2014 WL 6801636, at *6 (W.D. La. Dec. 1, 2014). To show a

pattern of racketeering activity, Plaintiffs must be able to show the relatedness between Alleva’s

alleged criminal (predicate) acts and a threat of continued racketeering activity. Id. Indeed,

relatedness and continuity have been called the critical features of a pattern of racketeering activity.

H.J. Inc., 492 U.S. at 239, 109 S.Ct. at 2901(“RICO’s legislative history reveals Congress’ intent

that to prove a pattern of racketeering activity a plaintiff…must prove predicates are related, and

that they amount to or pose a threat of continued criminal activity.”); Heller Financial, Inc. v.

Grammco Computer Sales, Inc., 71 F.3d 518, 524 (5th Cir. 1996)(“It is this factor of continuity

plus relationship which combines to produce a pattern.”).

            Plaintiffs merely allege separate and independent incidents of alleged criminal conduct;

thus, their allegations do not satisfy the relatedness and continuity requirements necessary to




135
      Rec. Doc. 103, at p. 60, § 8.

                                                     41
      Case 3:21-cv-00242-WBV-SDJ                   Document 118-2           11/08/21 Page 48 of 63




support a claim under the LRA. Furthermore, LSU has made a concerted effort to remedy any

alleged mishandling of reports of sexual assault; therefore, there is no threat of continuing

racketeering activity. See Word of Faith World Outreach Ctr. Church, Inc. v. Sawyer, 90 F.3d

118, 122-123 (5th Cir.1996).

        G. Plaintiffs Fail to Allege the Required Predicate Acts to Support their RICO
           Claims.

        Plaintiffs allege the Defendants engaged in the predicate acts of public intimidation and

retaliation, intimidating or injuring an impending witness, injuring public records, filing or

maintaining false records, money laundering, and corrupt influencing.136 For each of the alleged

predicate acts, Plaintiffs are required to allege the requisite element of criminal intent even when

pursuing civil RICO claims. Foster v. Fisher, 53,205, p. 16 (La. App. 2 Cir. 2/5/20); 290 So.3d

1215, 1226, reh'g denied (Feb. 27, 2020), writ denied, 2020-00481 (La. 6/22/20); 297 So.3d 761.

Plaintiffs fail to allege any affirmative criminal conduct on behalf of Alleva that indicates Alleva

violated any of the alleged predicate acts. Even taking Plaintiffs’ allegations as true that Alleva

allowed the predicate acts to occur, passive acquiescence is not enough to plead RICO claims.

Wang v. Ochsner Med. Ctr.-Kenner, L.L.C., No. CV 17-5134, 2017 WL 6055167, at *11 (E.D. La.

Dec. 7, 2017). For the reasons set for below, Plaintiffs’ allegations against Alleva fall short of

plausibly pleading Alleva’s involvement in the alleged racketeering activity.

             1. Public intimidation and retaliation in violation of La. R.S. 14:122.

        Plaintiffs allege Alleva participated in the predicate act of public intimidation and

retaliation.137 The crime of public intimidation requires a defendant to use violence, force,


136
    Rec. Doc. 22, at p. 139, ¶ 568; Rec. Doc. 103, at p. 55. Alleva objects to Plaintiffs’ attempt to add additional
predicate acts in the Racketeering Case Statement.
137
    Rec. Doc. 103, at pp. 40-42.

                                                        42
      Case 3:21-cv-00242-WBV-SDJ                   Document 118-2           11/08/21 Page 49 of 63




extortionate, threats, or true threats on a public officer or employee to influence a course of

conduct. La. R.S. 14:122. The U.S. Fifth Circuit has held that La. R.S. 14:122 is unconstitutionally

overbroad insofar as it criminalizes “threats.”138

        Plaintiffs do not allege Alleva engaged any of the requisite criminal conduct on any

employee of the Athletic Department to influence any public employee’s conduct. Rather,

Plaintiffs’ merely contend Alleva took part in creating a culture that disincentivized public (LSU)

employees from reporting allegations of sexual misconduct.139                    Exhibit A to the Amended

Complaint shows Alleva requested that all Athletic Department employees use the proper channels

for reporting Title IX complaints.140 Thus, Plaintiffs’ allegations in the Case Statement are

expressly refuted by their own attachments/exhibits to the Amended Complaint. Accordingly,

Plaintiffs have failed to plausibly plead that Alleva engaged in the predicate act of public

intimidation and retaliation to support a claim under the LRA.

             2. Intimidating or injuring an impending witness in violation of La. R.S.
                14:129.1.

        Plaintiffs allege Alleva participated in the predicate act of intimidating or injuring an

impending witness.141 The crime of intimidating or injuring an impending witness involves a

defendant’s use of force or threat of force against a witness with the intent to influence a witness’

reporting of criminal conduct or testimony at a judicial proceeding. La. R.S. 14:129.1. Plaintiffs’

do not make any allegations regarding any interactions between Alleva and the Plaintiffs.142



138
    Seals v. McBee, 898 F.3d 587, 600 (5th Cir. 2018), as revised (Aug. 9, 2018).
139
    Rec. Doc. 103, at p. 41.
140
    Rec. Doc. 22-1, at pp. 195-198 (Email from Alleva to all Athletics Staff dated June 8, 2016); Rec. Doc. 22-1, at
pp. 199-200 (Alleva Memo to All Athletics Employees dated February 14, 2018).
141
    Rec. Doc. 103, at pp. 42-47.
142
    Rec. Doc. 103, at pp. 42-47.

                                                        43
      Case 3:21-cv-00242-WBV-SDJ                     Document 118-2   11/08/21 Page 50 of 63




Without any alleged interactions between the Plaintiffs and Alleva, it is not plausible that Alleva

allegedly used or threatened to use force against Plaintiffs with the intent to influence their

“reporting or criminal conduct or testimony.” Therefore, Plaintiffs’ allegations as to this predicate

act fail to satisfy the federal pleading requirements and the Court’s LRA Order.

             3. Injuring public records in violation of La. R.S. 14:132.

         Plaintiffs allege Alleva participated in the predicate act of injuring public records.143 The

crime of injuring public records involves a defendant’s intentional removal, mutilation,

destruction, alteration, falsification, or concealment of any record that is required to be kept by

positive law. La. R.S. 14:132. Plaintiffs only allegations against Alleva for this predicate act is

that he, along with other “high-ranking members” of the purported “enterprise,” trained lower-

ranking members to keep inadequate records.144 Moreover, Plaintiffs do not allege Alleva

intentionally removed, mutilated, destroyed, altered, falsified, or concealed any document as to

plausibly plead that he participated in the predicate act of injuring public records; thus, Plaintiffs

have not sufficiently plead the predicate act of injuring public records. To the extent Plaintiffs

attempt to plead that public records were purportedly injured by Alleva because they contained

allegedly fraudulent information, Plaintiffs must comply with the pleading requirements of Rule 9

and the Supreme Court’s opinion in Ashcroft v. Iqbal, which they have not done. 556 U.S. at 687.

             4. Filing or maintaining false public records in violation of La. R.S. 14:133.

         Plaintiffs allege Alleva participated in the predicate act of filing or maintaining false public

records in violation of La. R.S. 14:133.145 The crime of filing or maintaining false records punishes



143
    Rec. Doc. 103, at pp. 47-50.
144
    Rec. Doc. 103, at p. 48.
145
    Rec. Doc. 22, at p. 139, ¶ 568; Rec. Doc. 22, at pp. 50-52.

                                                          44
      Case 3:21-cv-00242-WBV-SDJ                     Document 118-2   11/08/21 Page 51 of 63




individuals for filing or maintaining any forged, wrongfully altered, or document containing a false

statement or representation of material fact. La. R.S. 14:133. Plaintiffs do not contend Alleva

either created, filed, or maintained any public records that contained a misrepresentation of

material fact or have been forged/altered.146 To the extent Plaintiffs attempt to plead the alleged

public records contained fraudulent information, Plaintiffs must comply with the pleading

requirements of Rule 9 and the Supreme Court’s opinion in Ashcroft v. Iqbal, which they have not

done. 556 U.S. at 687. Therefore, Plaintiffs’ allegations regarding Alleva’s violation of La. R.S.

14:133 fail to satisfy the plausibility test.

             5. Money Laundering in violation of La. R.S. 14:230.

         Plaintiffs have also alleged that Alleva participated in the predicate act of money

laundering in violation of La. R.S. 14:230.147 However, Plaintiffs’ Amended Complaint and Case

Statement contain no allegations that could even remotely be construed to support a claim for of

money laundering against Alleva. Although Plaintiffs assert Defendants received funds from third

parties because of the success of LSU’s football program in the Amended Complaint and in the

Case Statement, they fail to allege how any such funds were “derived” from any criminal

activity.148 Plaintiffs further fail to allege that Alleva actually engaged in the predicate act of

money laundering. Therefore, Plaintiffs’ allegations are woefully inadequate to make a proper

claim against Alleva for the predicate act of money laundering.




146
    Rec. Doc. 103, at pp. 51-52.
147
    Rec. Doc. 22, at p. 139, ¶ 568; Rec. Doc. 22, at pp. 53-55.
148
    Rec. Doc. 103, at pp. 53-55.

                                                          45
         Case 3:21-cv-00242-WBV-SDJ            Document 118-2      11/08/21 Page 52 of 63




                6. Corrupt Influencing in violation of La. R.S. 14:120.

            Plaintiffs attempt to expand their pleadings by adding another alleged predicate act of

corrupt influencing to their Case Statement. Specifically, Plaintiffs allege that Alleva “… made

available the time and space of the Athletics Department to facilitate this Enterprise-sponsored

training that benefited the Enterprise.”149 First, Alleva objects to any expansion of Plaintiffs’

allegations in the Amended Complaint without seeking leave of Court to file a second amended

complaint.        Second, their expanded allegations fall short of satisfying the federal pleading

requirements that Alleva engaged in a crime and had specific intent to influence any public

official’s conduct. Thus, Plaintiffs fail to plausibly plead that Alleva engaged in the predicate act

of corrupt influencing.

            H. Plaintiffs Fail to Allege Alleva Invested Any Alleged Proceeds From a Pattern of
               Racketeering Activity to Support a Claim Under La. R.S. 15:1353(A).

            The Louisiana Supreme Court has held that the prohibition of La. R.S. 15:1353(A) require

more than the mere receipt of funds from racketeering activity; rather, it requires investment of

those funds in property or in support of the operation of the enterprise. State v. Nine Sav. Accts.,

553 So.2d at 825; State v. Thibodeaux, 20-91, p. 23 (La. App. 3 Cir. 3/17/21); 313 So.3d 445, 460,

reh'g denied (Apr. 28, 2021), writ denied, 21-00751 (La. 10/5/21); __ So.3d ___, 2021 WL

4550943. Plaintiffs’ allegations against Alleva fail to plausibly assert any specific details of how

he invested any money allegedly derived from a pattern of racketeering activity. Plaintiffs merely

claim Alleva used and invested funds created by the “enterprise” to operate and establish the

enterprise through his control of the Athletics Department, without alleging how the money




149
      Rec. Doc. 103, at p. 56.

                                                   46
      Case 3:21-cv-00242-WBV-SDJ                    Document 118-2           11/08/21 Page 53 of 63




derived from the purported criminal activity was invested into the so-called “enterprise.”150 These

allegations are conclusory and mere recitations of the bare elements of Plaintiffs’ alleged cause of

action, which is insufficient under Rule 8 and Supreme Court precedent to state a plausible

violation of the LRA. Ashcroft v. Iqbal, 556 U.S. at 687.

        I. Plaintiffs Fail to Allege How Alleva Controlled the So-Called “Enterprise.”

        Plaintiff’s allegations regarding Alleva’s purported interest and control of the so-called

“enterprise” are wholly contrary to Plaintiffs’ exhibits to the Amended Complaint and are

insufficient to support a claim under La. R.S. 15:1353(B). Plaintiffs allege Alleva had control of

the enterprise by allowing TAF to fund inadequate Title IX training, paying LSU employees in a

manner that influenced their reporting of sexual misconduct, allowing TAF to supply incentive-

based compensation to LSU employees based on the athletic team’s performance, and “… making

available things of value to be used for the purpose of running the Enterprise.”151 Plaintiffs’

assertion that Alleva used his position as Athletic Director to “… stymie the creation of a compliant

Title IX system at LSU…” is contradicted by the Husch Blackwell Report, which is attached to

Plaintiffs’ Amended Complaint.152 The Husch Blackwell Report demonstrates Alleva made

numerous attempts to facilitate compliance with LSU’s reporting policies by employees in the

LSU Athletic Department. In fact, Alleva specifically instructed Athletic Department employees

to not self-investigate Title IX complaints.153




150
    Rec. Doc. 103, at p. 12, § F(i).
151
    Rec. Doc. 103, at pp. 12-13.
152
    Rec. Doc. 22-1, at pp. 195-198 (Email from Alleva to all Athletics Staff dated June 8, 2016); Rec. Doc. 22-1, at
pp. 199-200 (Alleva Memo to All Athletics Employees dated February 14, 2018).
153
    Rec. Doc. 22-1, at pp. 195-198 (Email from Joe Alleva to all Athletics Staff dated June 8, 2016); Rec. Doc. 22-1,
at pp. 199-200 (Joe Alleva Memo to All Athletics Employees dated February 14, 2018).

                                                        47
      Case 3:21-cv-00242-WBV-SDJ                  Document 118-2          11/08/21 Page 54 of 63




        Plaintiffs have repeatedly failed to show how Alleva could “control” the purported

enterprise while, at the same time, also instruct LSU employees to behave in a manner that is in

direct conflict with the alleged purpose of the enterprise. Accordingly, Plaintiffs’ allegations

against Alleva under La. R.S. 15:1353(B) should be dismissed.

        J. Plaintiffs Fail to Plead a Claim for Violation of §1353(C).

        For purposes of La. R.S. 15:1353(C), the alleged “enterprise” must be separate and distinct

from the alleged RICO person, which is the defendant in a civil or criminal racketeering action.

Crowe v. Henry, 43 F.2d 198, 204 (5th Cir. 1995). The “person-enterprise” distinction cannot be

satisfied by alleging officers or employees of a corporation committed predicate acts in the course

of its own business. Whelan v. Winchester Prod. Co., 319 F.3d 225, 230 (5th Cir. 2003).154

        According to Plaintiffs, the alleged “association-in-fact” enterprise consisted of LSU, TAF,

and the individually named Defendants.155 LSU, TAF, and the individual Defendants cannot be

both the “RICO persons” and the alleged “enterprise.” In addition, Plaintiffs allege “[e]ach

member of the Enterprise is affiliated with or employed by LSU and TAF.” 156 Under La. R.S.

15:1353(C), the defendant or RICO person must be “employed by or associated with” the

enterprise. Because Plaintiffs’ Amended Complaint and Case Statement fail to properly identify

an enterprise that is separate and distinct from the alleged RICO persons, i.e., the Defendants, and

fail to allege the Defendants are affiliated with or employed by the “enterprise,” their claims

pursuant to La. R.S. 15:1353(C) should be dismissed.




154
    See also Warnock v. State Farm Mut. Auto. Ins. Co., 833 F. Supp. 2d 604, 612 (S.D. Miss. 2011) (finding a law
firm and its corporate client could not form a separate and distinct RICO enterprise).
155
    Rec. Doc. 103, at p. 58, § 6(i).
156
    Rec. Doc. 103, at p. 59.

                                                       48
      Case 3:21-cv-00242-WBV-SDJ                     Document 118-2            11/08/21 Page 55 of 63




         K. Plaintiffs’ Fail to Plausibly Plead Alleva was Engaged in a Conspiracy to Violate
         the LRA.

         To sufficiently plead Alleva conspired to violate the LRA, Plaintiffs must allege he agreed

with one or more persons to violate the substantive provisions of the LRA and agreed with the

overall objective of the racketeering activity. N. Cypress Med. Ctr. Operating Co. v. Cigna

Healthcare, 781 F.3d 182, 203 (5th Cir. 2015). Simply alleging an agreement existed is not

sufficient to properly plead an actionable conspiracy claim under La. R.S. 15:1353(D). Martin v.

Magee, No. CIV.A. 10-2786, 2011 WL 2413473, at *8-9 (E.D. La. June 10, 2011) (citing Bell

Atlantic Corp. v. Twombly, 550 U.S. 544).

         Plaintiffs’ claim that Alleva conspired with the other Defendants likewise fails because

Plaintiffs cannot establish an actionable claim under La. R.S. 15:1353(D) if they have not properly

plead a violation of La. R.S. 15:1353(A)-(C). Id. Moreover, any alleged acts that Plaintiffs claim

were done in furtherance of the conspiracy must also violate the LRA to be actionable; that is, such

acts must be “independently wrongful” under the LRA. Beck v. Prupis, 529 U.S. 494, 505

(2000).157 Because Plaintiffs’ have failed to sufficiently plead violations of the LRA, their claims

against Alleva under La. R.S. 15:1353(D) should be dismissed.

         L. Plaintiffs’ Should Not be Given an Opportunity to Amend.

         Plaintiffs should not be allowed the opportunity to amend their Amended Complaint.158

Price, 138 F.3d at 608. In Price, the court reasoned that in the context of RICO claims, the plaintiff



157
    To state a cause of action for RICO conspiracy, a plaintiff must sufficiently allege his or her injuries were caused
by a predicate act. Furthermore, to the extent Plaintiffs attempt to plead that Alleva was negligent, civil conspiracy
cannot be premised on negligence. Snow Ingredients, Inc. v. SnoWizard, Inc., 833 F.3d 512, 526 (5th Cir. 2016).
158
    While normally federal courts give a plaintiff an opportunity to amend his or her complaint to state a cause of
action upon which relief may be granted, the Fifth Circuit has held this rule does not apply with as much force when
plaintiffs are alleging RICO claims against the defendants. Price, 138 F.3d at 608.

                                                          49
      Case 3:21-cv-00242-WBV-SDJ                Document 118-2      11/08/21 Page 56 of 63




has multiple opportunities to articulate alleged facts and damages that are recoverable under RICO

in the complaint, RICO case statement, and any opposition to a motion to dismiss; therefore,

allowing the plaintiff another opportunity to attempt to state a cognizable claim would subject the

defendant to further cost of litigation. Id. The Plaintiffs’ have filed an Original and Amended

Complaint, a Case Statement, and will presumably file opposition to the instant Motion to Dismiss.

Therefore, if this Motion to Dismiss is granted, Plaintiffs’ claims should be dismissed, with

prejudice, without the opportunity to amend their Complaint. Id.

                                   VI. STATE LAW TORT CLAIMS

        In addition to the federal claims previously discussed, Plaintiffs have alleged several claims

based on state law causes of action against Alleva. Plaintiffs Amended Complaint alleges

negligence,159 negligent supervision,160 negligent infliction of emotional distress,161 intentional

infliction of emotional distress,162 civil conspiracy,163and violations of the Louisiana Racketeering

Act, La. R.S. 15:1351, et seq.,164 and unjust enrichment. 165 For the reasons discussed below,

Plaintiffs’ state law claims against Alleva should be dismissed, with prejudice.

        A. Plaintiffs Fail to Make Specific Allegations Against Alleva on the Tort Claims.

        Plaintiffs’ claims for negligent infliction of emotional distress and intentional infliction of

emotional distress fail at the pleading stage as Plaintiffs’ fail to allege extreme and outrageous




159
    Rec. Doc. 22, at pp. 116-119, ¶¶ 479-488.
160
    Rec. Doc. 22, at pp. 119-121, ¶¶ 489-496.
161
    Rec. Doc. 22, at pp. 121-122, ¶¶ 497-503.
162
    Rec. Doc. 22, at pp. 122-123, ¶¶ 504-509.
163
    Rec. Doc. 22, at pp. 127-129, ¶¶ 529-534.
164
    Rec. Doc. 22, at pp. 136-141, ¶¶ 553-580.
165
    Rec. Doc. 22, at pp. 141-142, ¶¶ 581-587.

                                                   50
      Case 3:21-cv-00242-WBV-SDJ                     Document 118-2             11/08/21 Page 57 of 63




conduct on behalf of Alleva, which is a required element of each claim.166 Holden, 2020 WL

6544174, at *3. Extreme and outrageous conduct is a high threshold that cannot be plead generally.

Id. at *4 (citing Nicholas v. Allstate Ins. Co., 1999-2522 (La. 8/31/00); 765 So.2d 1017, 1028)).167

Plaintiffs’ Amended Complaint fails to make any allegations that Alleva engaged in extreme and

outrageous conduct toward the Plaintiffs or intended to cause them severe emotional distress; thus,

Plaintiffs have failed to state a claim against Alleva for intentional infliction of emotional distress

or negligent infliction of emotional distress.

         Likewise, Plaintiffs’ claim for unjust enrichment also fails because Plaintiffs cannot have

a cause of action for unjust enrichment under Louisiana law if there are any other available

remedies at law. Walters v. MedSouth Rec. Mgmt., LLC, 2010-0353, p. 244 (La. 6/4/10); 38 So.3d

243, 244.168 Even pleading another potential cause of action, even if that action is barred by the

limitations period or immunity, defeats the Plaintiffs’ claim for unjust enrichment. Id. Therefore,

based on their own Amended Complaint and the allegations contained therein, Plaintiffs’ claim for

unjust enrichment must be dismissed.169

         Since Alleva’s defenses to the state law tort claims apply to all of Plaintiffs’ remaining

claims, Alleva will address his defenses to these claims together.170


166
    Pelitire, 270 So.3d at 829 (finding the plaintiff must meet the heavy burden of proving outrageous conduct by the
defendant to support a claim for negligent infliction of emotional distress.); White, 585 So.2d at 1209 (outrageous
conduct is a requiring element of a claim for intentional infliction of emotional distress).
167
    Insults, indignities, threats, annoyances, petty oppressions, and other trivialities do not meet the standard for
extreme and outrageous conduct. Holden, 2020 WL 6544174 at *4.
168
    In Walters, the Louisiana Supreme Court found that the plaintiff’s allegations of “negligent and tortious conduct”
gave rise to a delictual action, thus, precluded a claim for unjust enrichment. 38 So.3d at 244. It did not matter if the
plaintiff’s potential delictual action had already prescribed. Id.
169
    Alleva does not concede that Plaintiffs’ have properly plead any of their claims against Alleva, but failure to
properly pursue another availability does not matter when determining whether Plaintiffs have a claim for unjust
enrichment. Walters, 38 So.3d at 244.
170
    A claim for civil conspiracy is not actionable without a separate underlying tort claim. Ross v. Conoco, Inc., 02-
0299, pp. 8-9 (La. 10/15/02) 828 So.2d 546, 552.

                                                          51
     Case 3:21-cv-00242-WBV-SDJ             Document 118-2        11/08/21 Page 58 of 63




       B. To the Extent Plaintiffs Sufficiently Allege Tort Claims Against Alleva in his
          Official and Individual Capacity, They are Barred by Sovereign Immunity,
          Discretionary Immunity pursuant to La. R.S. 9:2798.1 and/or Have Prescribed.

           1. Sovereign Immunity Bars Plaintiffs’ State Law Tort Claims Against Alleva in
               His Official Capacity.

       To the extent Plaintiffs attempt to plead tort claims against Alleva in his official capacity,

those claims are barred by sovereign immunity. Pennhurst State Sch. & Hosp. v. Halderman, 465

U.S. 89, 121 (1984); Montgomery-Smith v. Louisiana Dep't of Health & Hosps., 299 F. Supp. 3d

790, 808 (E.D. La. 2018), aff'd sub nom., Montgomery-Smith v. George, 810 F. App'x 252 (5th

Cir. 2020). Therefore, Plaintiffs’ claims of negligence, negligent supervision, negligent infliction

of emotional distress, intentional infliction of emotional distress, civil conspiracy, and unjust

enrichment against Alleva in his official capacity should be dismissed.

           2. Discretionary Immunity Bars the State Law Tort Claims Against Alleva.

       Alleva, as an official of a public university, enjoys tort immunity from claims arising under

Louisiana law for the exercise or performance of his duties as Athletic Director of LSU. La. R.S.

9:2798.1(B).   Under the discretionary function doctrine, as outlined in La. R.S. 9:2798.1,

governmental decision makers exercising discretionary functions are immune from suit to avoid

chilling the legislative discretion in policy formation by imposing tort liability for discretionary

decisions. Sarasino v. State Through Dep't of Pub. Safety & Corr., 16-408, p. 7 (La. App. 5 Cir.

3/15/17); 215 So.3d 923, 928.

       In Fowler v. Roberts, 556 So.2d 1, 15 (La. 1989), the Louisiana Supreme Court adopted

the two-step test enunciated in Berkovitz v. U.S., 486 U.S. 531 (1988) for determining whether the

discretionary function exception applies in specific fact situations. Wilson v. Davis, 07-1929, p. 7

(La. App. 1st Cir. 05/28/08); 991 So.2d 1052, 1058. The first step is for the court to determine

                                                52
     Case 3:21-cv-00242-WBV-SDJ              Document 118-2        11/08/21 Page 59 of 63




whether a government employee had an element of choice. Wilson, 991 So.2d at 1058. The second

step is for the court to evaluate whether the discretion is the kind shielded by the discretionary

function exception, that is, one grounded in social, economic or political policy. Id.

       To the extent Plaintiffs’ tort claims are based on Alleva’s position as Athletic Director of

LSU, any decisions Alleva made regarding the Athletic Department’s handling of Title IX claims

and supervision of employees of the Athletic Department, are subject to the doctrine of

discretionary immunity. Plaintiffs fail to make any specific allegations as to Alleva’s interaction

with any of the Plaintiffs; thus, to the extent Plaintiffs’ claims against Alleva are purely based on

his position as Athletic Director, they are barred by discretionary immunity pursuant to La. R.S.

9:2798.1.

            3. All of Plaintiffs’ Tort Claims Are Subject to a One-Year Prescriptive Period
               Which Lapsed Prior to the Filing of the Original Complaint.

       Plaintiffs’ state law tort claims against Alleva are prescribed. The prescriptive period for

tort actions begins to run from the date the injury was sustained. La. C.C. art. 3492. There is no

requirement the quantum of damages be certain, or that the damage be fully incurred before the

prescriptive period on Plaintiffs’ claims began to run. Harvey v. Dixie Graphics, Inc., 593 So. 2d

351, 354 (La. 1992). In fact, prescription began to run on Plaintiffs’ claims when they had

sufficient information to call for an inquiry about their claims, not from the time they learned of

facts or evidence sufficient to prove their claims. In re Taxotere (Docetaxel) Prod. Liab. Litig.,

995 F.3d 384, 388–89 (5th Cir. 2021). Plaintiffs are not entitled to wait to file a lawsuit until they

are certain of who and what caused their injuries. Id. at 392. Furthermore, Plaintiffs’ claims are

prescribed on the face of the Amended Complaint; therefore, they have the burden to prove their

claims against Alleva are not prescribed. Id. at 388–89.

                                                 53
      Case 3:21-cv-00242-WBV-SDJ                     Document 118-2            11/08/21 Page 60 of 63




         Plaintiffs, Richardson, Robertson, Brennan, Owens, Lewis, and Johnson, allege in the

Amended Complaint that they did not feel as if they received fair or appropriate support or

resources from LSU.171 Plaintiffs, Robertson, Brennan, Owens, and Lewis, either left LSU

because of the alleged lack of support they received from LSU or were aware of their potential

claims well before one (1) year prior to filing the Original Complaint.172 Taking the Plaintiffs’

allegations as true, Plaintiffs had sufficient knowledge their complaints were not being handled

correctly by LSU to trigger the running of prescription on their state law tort claims at the latest

from the date they left LSU or notified the Southeastern Conference about the handling of the Title

IX investigation. Plaintiff, Richardson, found out there would be no action against Sharon Lewis

(“Lewis”) after the Title IX investigation into her complaints against John Doe and John Coe on

or around November 2018, which would have started the running of the prescriptive period for her

tort claims against Alleva.173 The claims of Plaintiff, Johnson, arise out of alleged verbal abuse

by one or more of LSU’s tennis coaches.174 The prescriptive period for Johnson’s state law tort

claims began to run from the time she suffered the alleged verbal abuse, and at the very latest when



171
     Rec. Doc. 22, at pp. 31 (¶ 133), 34 (¶¶ 145-153). Plaintiff Richardson found out that Sharon Lewis would not
receive any discipline or sanction from LSU regarding her handling of complaints against John Doe and John Coe on
or around November 18, 2018. Rec. Doc. 22, at p. 40, ¶ 174. Plaintiff Robertson withdrew from LSU in September
2017 because of alleged issues caused by sexual misconduct of another student and for the alleged failure of LSU to
provide appropriate support and resources. Rec. Doc. 22, at p. 40, ¶ 174. Plaintiff Robertson withdrew from LSU in
September 2017 because of alleged issues caused by sexual misconduct of another student and for the alleged failure
of LSU to provide appropriate support and resources. Rec. Doc. 22, at p. 43, ¶¶ 184-185. Plaintiff Brennan left LSU
in the fall of 2016 because the alleged lack of support from Athletic Department. Rec. Doc. 22, at p. 46, ¶ 200.
Plaintiff Owens left LSU in March 2017 because of the allege lack of support, resources, accommodations, or interim
measures by LSU to ensure she could finish her degree. Rec. Doc. 22, at p. 64, ¶ 278. Plaintiff Lewis’ father sent a
letter to the Southeastern Conference on October 18, 2018 informing them that LSU had failed to take appropriate
action regarding Plaintiff Lewis’ complaints of sexual misconduct. Rec. Doc. 22, at p. 69, ¶ 299. Plaintiff Johnson
graduated from LSU in the spring of 2019. Plaintiff Johnson’s alleges verbal abuse by on of the LSU tennis coaches
and does not allege anything that would toll the limitations period for failure of the requisite knowledge of her claim.
172
    Supra at nn. 95-99.
173
    Rec. Doc. 22, at pp. 34-35, ¶¶ 145-153.
174
    Rec. Doc. 22, at pp. 65-69, ¶¶ 283-301.

                                                          54
     Case 3:21-cv-00242-WBV-SDJ             Document 118-2       11/08/21 Page 61 of 63




she reported the alleged abuse and no action was taken to remedy her complaints. See Aguillard

v. Louisiana Coll., 824 F. App'x 248, 252 (5th Cir. 2020), cert. denied, 141 S. Ct. 1079, 208 L.Ed.

2d 536 (2021).

       Plaintiffs cannot satisfy their burden of proving their state law tort claims against Alleva

are not prescribed because the prescription began to run more than one (1) year before the Original

Complaint was filed. Accordingly, Plaintiffs’ state law tort claims against Alleva should be

dismissed, with prejudice.

                                      VII. CONCLUSION

       For the reasons set forth above, Joseph “Joe” Alleva prays for the following relief:

       1. Dismissal of Plaintiffs’ 20 U.S.C. §§ 1961, et seq. (Title IX) claims against Alleva in
          his official and individual capacity;

       2. Dismissal of Plaintiffs’ First Amendment Retaliation claims brought pursuant to 42
          U.S.C. § 1983 against Alleva in his official and individual capacity;

       3. Dismissal of Plaintiffs’ denial of Equal Protection claims brought pursuant to 42 U.S.C.
          § 1983 against Alleva in his official and individual capacity;

       4. Dismissal of Plaintiffs’ Denial of Procedural Due Process claims brought pursuant to
          42 U.S.C. § 1983 against Alleva in his official and individual capacity;

       5. Dismissal of Plaintiffs’ First Amendment Retaliation claims brought pursuant to 42
          U.S.C. § 1983 against Alleva in his official and individual capacity;

       6. Dismissal of Plaintiffs’ Conspiracy to Interfere with Plaintiffs’ rights of Free Speech,
          Due Process, and Equal Protection brought to 42 U.S.C. § 1985 against Alleva in his
          official and individual capacity

       7. Dismissal of Plaintiffs’ Conspiracy to Interfere with Plaintiffs’ rights of Free Speech,
          Due Process, and Equal Protection brought to 42 U.S.C. § 1986 against Alleva in his
          official and individual capacity;

       8. Dismissal of Plaintiffs’ negligence claims against Alleva in his official and individual
          capacity;



                                                55
Case 3:21-cv-00242-WBV-SDJ            Document 118-2        11/08/21 Page 62 of 63




 9. Dismissal of Plaintiffs’ negligent supervision claims against Alleva in his official and
    individual capacity;

 10. Dismissal of Plaintiffs’ negligent infliction of emotional distress claims against Alleva
     in his official and individual capacity;

 11. Dismissal of Plaintiffs’ intentional infliction of emotional distress claims against
     Alleva in his official and individual capacity;

 12. Dismissal of Plaintiffs’ civil conspiracy claims against Alleva in his official and
     individual capacity;

 13. Dismissal of Plaintiffs’ Louisiana Racketeering Act claims against Alleva in his official
     and individual capacity; and

 14. Plaintiffs’ claims be dismissed with prejudice without the opportunity to amend.

                               Respectfully submitted:

                               JEFF LANDRY
                               ATTORNEY GENERAL

                               /s/ Seth F. Lawrence
                               MICHAEL A. PATTERSON (#10373)
                               S. BROOKE BARNETT-BERNAL (#31031)-T.A.
                               SETH F. LAWRENCE (#38316)
                               Special Assistant Attorneys General
                               LONG LAW FIRM, L.L.P.
                               1800 City Farm Drive, Building 6
                               Baton Rouge, Louisiana 70806
                               Telephone:     (225) 922-5110
                               Facsimile:     (225) 922-5105
                               map@longlaw.com
                               bbb@longlaw.com
                               sfl@longlaw.com
                               Attorneys for Joseph “Joe” Alleva




                                          56
     Case 3:21-cv-00242-WBV-SDJ             Document 118-2        11/08/21 Page 63 of 63




                                CERTIFICATE OF SERVICE

        I hereby certify that the above and foregoing Memorandum in Support of Joseph Alleva’s

Motion to Dismiss was electronically filed with the Clerk of Court using the CM/ECF system,

which will send a notice of electronic filing to all counsel of record, on this 8th day of November,

2021.

                                                     /s/ Seth F. Lawrence
                                                     Seth F. Lawrence




                                                57
